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1                             IN THE UNITED STATES DISTRICT COURT
2

3                          FOR THE SOUTHERN DISTRICT OF NEW YORK

4    JASON GOODMAN                                       Case No.: 1:21-cv-10878-AT-JLC
5    Plaintiff,
6    vs.                                                 RESPONSE IN OPPOSITION TO
                                                         MOTION FOR RECONSIDERATION
7    CHRISTOPHER ELLIS BOUZY, BOT
     SENTINEL, INC, GEORGE WEBB
8
     SWEIGERT, DAVID GEORGE SWEIGERT,
9    BENJAMIN WITTES, NINA JANKOWICZ,
     ADAM SHARP, MARGARET ESQUENET,
10   THE ACADEMY OF TELEVISION ARTS
     AND SCIENCES, SETH BERLIN,
11
     MAXWELL MISHKIN
12
                    Defendants
13

14
                    Jason Goodman (“Goodman”), by and for himself pro se, respectfully submits
15
     this response in opposition to defendants’ Benjamin Wittes (“Wittes”) and Nina Jankowicz
16

17
     (“Jankowicz”) motion for reconsideration.

18                                INTRODUCTORY STATEMENT
19
                      Defendants’ motion for reconsideration should be denied because it is based
20
     on misrepresentations, materially misleading claims and it was frivolously filed with the
21

22   express intent of painting Goodman in a false light, extorting money from him and

23   preventing him from seeking justice for his well-founded, evidence backed claims. The
24
     motion relies on cherry picked and misrepresented quotes attributed to Goodman that do not
25
     accurately relay what was said. For the sake of clarity, a full transcript of the cited video is
26

27   attached (EXHIBIT A). Defendants have attempted to deceive the Court by hiding the fact

28
     RESPONSE IN OPPOSITION TO MOTION FOR RECONSIDERATION - 1
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1    that agents acting on their behalf, including defendants David George Sweigert (“Sweigert”)
2
     and Christopher Bouzy (“Bouzy”), interacted with Goodman during the cited broadcast and
3
     prompted him to make statements which defendants then mischaracterized in their deceptive
4

5    motion. Defendants’ ongoing provocation of Goodman and their disingenuous filing based

6    on that, provides the clearest view yet of their sinister modus operandi and the ongoing,
7
     fundamentally deceptive manner in which they and their attorneys approach litigation.
8
                         LAWFARE AND DISINFORMATION EXPERTS
9

10                    Benjamin Wittes (“Wittes”) is the Editor of the Lawfare blog (www.lawfare

11   blog.com) and a widely recognized subject matter expert. Lawfare describes the use of civil
12
     or criminal procedure as an offensive weapon. Wittes has attempted to weaponize this and
13
     other legal actions against Goodman in a remarkably energetic effort to conceal evidence that
14

15   Goodman alleges will incriminate defendants and their associates in capital crimes including
16
     treason. Concurrent with this response in opposition, the Republican majority in Congress
17
     remains at odds with current FBI director Christopher Wray. The FBI has refused to provide
18

19
     subpoenaed documents related to a laptop owned by First Son Hunter Biden, (the “Biden

20   Laptop”) concerning Joe Biden and alleged business transactions with foreign nationals.
21
                      Nina Jankowicz (“Jankowicz”) was the U.S. Department of Homeland
22
     Security’s Disinformation Governance Board (“DGB”) Executive Director. Disinformation
23

24   was defined in a Wilson Center podcast featuring Jankowicz and retired FBI special agent

25   and counterintelligence specialist Asha Rangappa as, “the use of false or misleading
26
     information with malign intent” (https://www.youtube.com/watch?v=zl2GtdNiye8).
27
     Ironically, it is Jankowicz who seeks to mislead the public by hiding true information that
28
     RESPONSE IN OPPOSITION TO MOTION FOR RECONSIDERATION - 2
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1    would prove Goodman’s allegation that she failed to register as a foreign agent pursuant to
2
     22 U.S.C. § 611. Jankowicz resigned from her DGB position just two days after Goodman
3
     revealed information from the public domain that she continues to attempt to conceal.
4

5                             DEFENDANTS MISLEAD THE COURT

6                     Ironically, the disingenuous filing is itself disinformation according to
7
     Jankowicz’ own definition. In the motion for reconsideration, defendants falsely declare
8
     Goodman “made clear that he does not view the sanctions imposed as sufficient to deter him
9

10   from future litigation misconduct and (ii) gloated about having caused financial damage to

11   certain defendants by forcing them to incur significant legal fees in defending against his
12
     frivolous claims”. Firstly, and contrary to defendants’ false declaration, no sanctions have
13
     yet been imposed, they have only been recommended. Secondarily, Goodman had no such
14

15   intentions and the gerrymandered quotes do not represent what Goodman actually said. At
16
     the time point identified, Goodman can be seen on video reading emails from his phone. In a
17
     verbal response to a harassing email from Sweigert, Goodman states he is, “a couple of hours
18

19
     behind. I already read that.” Goodman was referring to a Tweet published by defendant

20   Bouzy in which Bouzy inaccurately reported, “BREAKING: The NY Magistrate Judge in the
21
     Goodman v. Bouzy defamation case has ruled in our favor. This is a win for the Bot Sentinel
22
     community and free speech. I want to thank Ballard Spahr and everyone who supported Bot
23

24   Sentinel and me!♥🐳 Read it here: https://botsentinel.com/documents/goodman-v-

25
     bouzy.pdf.” (EXHIBIT B)
26
                      Goodman accurately informed viewers that Bouzy had not yet won, but
27

28
     Judge Cott issued a Report and Recommendation and the case had not concluded. Goodman
     RESPONSE IN OPPOSITION TO MOTION FOR RECONSIDERATION - 3
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1    then went on an extemporaneous exploration of the idea that Bouzy won, telling his audience
2
     “I don't know exactly what he's won. Everybody now realizes what an [expletive redacted]
3
     he is and he's had to pay a huge legal bill.” Goodman continued saying, “Even if this case
4

5    ends, I'm not going to give up. I'm not going to go away. We're still going to be allowed to

6    talk about this. Even if I can't sue Ben Wittes over it, we're going to talk about it.” In direct
7
     contrast to defendants’ false claims, this is an acknowledgement by Goodman that acceptance
8
     of the Report and Recommendation would end his litigation efforts but that he would still
9

10   report on and inform the public of these matters. Defendants’ deliberate provocation of

11   Goodman through email, Twitter or interactive YouTube chat, and the misrepresentations in
12
     their subsequent filing reveal their treacherous and dishonest nature of these litigants. The
13
     motion only serves to further prove Goodman’s allegations. Defendants’ latest claims seem
14

15   to reflect what they wish Goodman had said but are actually desperate attempts to put a court

16   order in place to permanently bar Goodman from discussing these facts. This is exactly what
17
     Jankowicz has done with her false statements to the police and the General District Court in
18
     Arlington, VA. This also follows Sharp, Esquenet and Judge Caproni in their unjust sanction
19

20   blocking Goodman from so much as uttering an email address attributed to Sweigert.
21
                         DISFAVORED FACTS ARE DISINFORMATION
22
                      On May 16, 2022, Goodman published a video on his Crowdsource the
23

24   Truth 5 YouTube channel, (the “May 16 Video”). In the May 16 Video, Goodman displayed

25   and discussed various public domain information he discovered through ordinary internet
26
     searches. Goodman has no access to any of Jankowicz’ personal or private information and
27
     has made no unlawful attempts to access any such information. Goodman has only sought
28
     RESPONSE IN OPPOSITION TO MOTION FOR RECONSIDERATION - 4
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1    and published public domain information related to Jankowicz. Despite this, immediately
2
     upon publication of the May 16 Video, Sweigert sent several emails alerting various parties
3
     at Wittes’ Brookings Institution (“Brookings”) of the video publication. (EXHIBIT C)
4

5                     In direct and immediate response to Sweigert’s emails, Goodman’s

6    Crowdsource the Truth 5 YouTube channel was permanently deleted by Google.
7
     Additionally, Goodman received notification from Patreon.com of an alleged violation that
8
     threatened his ability to utilize the payment processing platform he relies on to conduct
9

10   business and earn a living. Although Goodman disagreed with Jankowicz’ claim that the

11   video contained private information, the need to restore credit card payments outweighed the
12
     need to be proven correct. Goodman created an alternate edited version of the video on May
13
     18, 2022 (the “May 18 Video”) which removed the allegedly private information. After this,
14

15   Patreon lifted the penalty and allowed Goodman to resume normal operation.
16
                      At present, the only version of the video published by Goodman on any
17
     website he controls is the edited May 18 Video, confirmed by third party Patreon.com to be
18

19
     free of allegedly private information. Despite this, on or around January 5, 2023, Jankowicz

20   or someone acting on her behalf made another false claim to Twitter, causing Goodman to
21
     lose access to his (“@csthetruth”) Twitter account, again on the false basis that he had shared
22
     private information. This time however, the tweet only contained a link to the edited May 18
23

24   Video and Jankowicz’ own public FARA filing. No private information at all was included,

25   but the account remains inaccessible and Janowicz’ refusal to retract the false statement
26
     prompted Goodman to add her as a defendant in this action.
27
                      Omitting or hiding required public disclosures particularly when done by a
28
     RESPONSE IN OPPOSITION TO MOTION FOR RECONSIDERATION - 5
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1    government employee acting on behalf of a foreign country is a bold, deliberate deception.
2
     Dissemination of information that is even just misleading is exactly what Jankowicz and her
3
     colleagues have defined as disinformation. Despite her former title, evidence indicates
4

5    Jankowicz is a frequent and malicious purveyor of disinformation. Goodman alleges she

6    harbors a grudge against him as a result of his factual news reporting that caused her to lose
7
     what she described as her “dream job.” Goodman further alleges as a result of this, she now
8
     seeks revenge by making a series of false statements calculated to harm him. Jankowicz
9

10   made numerous statements that she knew to be false at the time she made them or otherwise

11   should have known. She made the statements with the express intent of harming Goodman,
12
     with the assistance of, and through cooperation with, defendants Wittes and Sweigert and her
13
     attorneys Liz Lockwood (“Lockwood”) and Veronica Holmes (“Holmes”). Jankowicz made
14

15   false statement to Arlington Police and to the Arlington General District Court so she could

16   wrongfully obtain a fraudulent order of protection against Goodman. Sweigert immediately
17
     and persistently publicized the order to a network of followers on Twitter, emphasizing that
18
     Goodman was no longer able to exercise the Second Amendment and encouraging the public
19

20   to pursue Goodman. Shortly thereafter, Goodman was approached by two individuals in two
21
     separate locations who Sweigert later claimed were process servers. Neither identified
22
     themselves as process servers nor attempt to serve any papers. One approached Goodman
23

24
     from behind, put a hand on him and asked, “How’s George?” Goodman understood this to

25   be a veiled threat. “George” referred to Sweigert’s brother who uses the pseudonym Webb.
26
                FALSE STATEMENTS CALCULATED TO HARM GOODMAN
27
                      Goodman had never heard of Jankowicz prior to her becoming a limited
28
     RESPONSE IN OPPOSITION TO MOTION FOR RECONSIDERATION - 6
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1    purpose public figure in or around April 2022 when she appeared on news broadcasts
2
     announcing her new role as DGB Director. On its face, as described by Jankowicz, her role
3
     appeared to conflict with the First Amendment of the U.S. Constitution. Many Americans
4

5    shared Goodman’s views on this subject, making Jankowicz an instant pariah. She was

6    relentlessly mocked in social media not only for her juvenile musical presentations, but more
7
     so for the deeply offensive nature of her intentions and unbelievable lack of self-awareness.
8
     These defendants share a tyrannical desire to lord over facts and discern by decree what is
9

10   information and what is disinformation, a fundamental aspect that permeates this case. Each

11   of the defendants demonstrate behaviors that indicate their belief that they have the moral
12
     authority and official power to silence opinions they disagree with. Disinformation is more
13
     accurately described as anything disagreeable to them. As such, their baseless conclusory
14

15   judgments should be ignored, and they should be compelled to refute Goodman’s claims with

16   countermanding facts, or else their dismissal should be construed as merely more deception.
17
          UNLIKELY COINCIDENCES REVEAL CLANDESTINE COORDINATION
18

19
                      Throughout the relevant timeframe, defendants have engaged in various

20   actions that are inarguably coincidental. It remains an open question if these coincidences
21
     were calculated, but the frequency of their occurrence defies the probability of random
22
     happenstance. Goodman alleges these coincidences were not organic but were coordinated
23

24   clandestine efforts intended to further defendants’ collective purpose to eliminate information

25   they determine to be objectionable irrespective of its veracity.
26
                      On November 14, 2016, acclaimed journalist Richard Pollack published a
27
     story on Dailycaller.com alleging, “Ultra-Rich Liberals Meet To Quietly Plot The Trump
28
     RESPONSE IN OPPOSITION TO MOTION FOR RECONSIDERATION - 7
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1    ‘Resistance’” (https://dailycaller.com/2016/11/14/time-to-fight-ultra-rich-liberals-meet-to-
2
     plot-the-trump-resistance/) and citing the opening remarks given by Democracy Alliance
3
     president Gara LaMarche, (https://democracyalliance.org/from-the-president/opening-
4

5    remarks-gara-lamarche-fall-2016-da-conference/).

6                     Only weeks later, on December 28, 2016, Wittes sent an email to former
7
     FBI director James Comey (“Comey”) encouraging investigation into matters concerning
8
     Peter W. Smith (“Smith”), Shane Harris (“Harris”), and allegedly hacked emails (ECF No.
9

10   212 pages 14–15). On the same day, December 28, 2016, defendant Sharp issued a press

11   release announcing his abrupt and unexpected departure from his beloved Twitter.
12
     (https://www.prweek.com/article/1419575/twitters-head-news-government-elections-departs)
13
                      Another unlikely coincidence would occur on October 28, 2020. Two
14

15   weeks after the New York Post was banned from Twitter for reporting on the Biden Laptop
16
     and mere days before the 2020 Presidential election, then Twitter CEO Jack Dorsey
17
     (“Dorsey”) was called to testify before Congress regarding online censorship. On the same
18

19
     day, Sharp appeared on CNBC to declare online platforms were not equipped to counteract

20   disinformation (https://www.youtube.com/watch?v=qcl_8aQOlsQ). Despite no longer being
21
     employed at Twitter, Sharp told the interviewer, “I want to make sure that all dynamics are
22
     there so that positive content can spread and go viral, and you can have an Arab Spring, a
23

24   black Lives Matter. All these movements that foment beautifully on the on the platforms.”

25   According to a March 2012 U.S. News and World Report article headlined, Death Toll of
26
     'Arab Spring', the beautiful fomentation described by Sharp resulted in more than 35,000
27
     deaths. (https://www.usnews.com/news/slideshows/death-toll-of-arab-spring)
28
     RESPONSE IN OPPOSITION TO MOTION FOR RECONSIDERATION - 8
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1                     Even worse, a January 2021 Washington Post article titled The Unfinished
2
     Business of the Arab Spring tells readers, “Ten years on, the hopes awakened by the protests
3
     have vanished” and goes on to explain, “the underlying conditions that drove the unrest are as
4

5    acute as ever.” (https://www.washingtonpost.com/world/interactive/2021/arab-spring-10-

6    year-anniversary-lost-decade/). Sharp’s praise of Black Lives Matter failed to recognize that
7
     at least twenty-five people were killed and the expenses of property damage and theft
8
     destroyed entire communities. (https://www.theguardian.com/world/2020/oct/31/americans-
9

10   killed-protests-political-unrest-acled)

11                    Another improbable coincidence occurred while Dorsey’s congressional
12
     testimony and Sharp’s CNBC appearance were broadcast to unsuspecting Americans on
13
     October 28, 2020. Jankowicz published an op-ed in the Washington Post under the headline,
14

15   No matter who wins the election, disinformation will still poison our democracy
16
     (https://www.washingtonpost.com/outlook/2020/10/28/disinformation-election-qanon-
17
     democracy/). This would be unremarkable on its own, but the op-ed is one of only three
18

19
     Jankowicz published in the Washington Post since 2017. A reasonable observer might

20   conclude defendants were engaged in a coordinated effort to convince Americans that the
21
     Biden Laptop was a product of a Russian intelligence operation, and it should not affect their
22
     decision to vote for Joe Biden. In support of the alleged campaign, Jankowicz tweeted quite
23

24   a bit about the Biden Laptop. (EXHIBIT D)

25                    On October 22, 2020, Jankowicz tweeted “Back on the "laptop from hell,"
26
     apparently- Biden notes 50 former natsec officials and 5 former CIA heads that believe the
27
     laptop is a Russian influence op. Trump says "Russia, Russia, Russia." Jankowicz was
28
     RESPONSE IN OPPOSITION TO MOTION FOR RECONSIDERATION - 9
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1    referring to a letter signed by fifty-one retired intelligence officers. Coincidentally, twelve of
2
     the fifty-one signatories were Brookings fellows just as defendant Wittes is. A large amount
3
     of evidence that has not been contested supports Goodman’s allegations that a coordinated
4

5    “all hands on deck” effort was put into effect by defendants and their coconspirators. This

6    effort was at a highly developed stage by October 2020, and eliminating Goodman’s ability
7
     to report true but disfavored information was part of their broad effort.
8
                                             CONCLUSION
9

10                    For the reasons stated herein and any other reasons as determined by the

11   Court, defendants’ motion for reconsideration should be denied and Goodman should be
12
     granted leave to amend his complaint so that this case can be allowed to proceed to be
13
     decided on its merits.
14

15

16
     Signed this 30th day of May 2023
17
     Respectfully submitted,
18
                                       ____________________________________________________
19
                                                                Jason Goodman, Plaintiff, Pro Se
20                                                                        252 7th Avenue Apt 6s
                                                                          New York, NY 10001
21                                                                               (323) 744-7594
                                                                  truth@crowdsourcethetruth.org
22

23

24

25

26

27

28
     RESPONSE IN OPPOSITION TO MOTION FOR RECONSIDERATION - 10
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                           (EXHIBIT A)
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00:00:00:00 - 00:00:17:22
Unknown
I might have forgotten the fade there, so didn't think I did.

00:00:17:25 - 00:00:41:22
Unknown
So I was I was looking for some information about this press conference
that James Comer is going to have on Wednesday. You're going to release
some bombshell information. I don't think it's a good idea to start
talking about information that you're going to release. Right. Isn't
there a whistleblower who is in Cyprus or something like that who now is
missing?

00:00:41:24 - 00:01:14:17
Unknown
That's interesting in Cyprus, because that is where that private bank was
located in Cyprus. Remember? Kolomoisky? No, no, that I think Kolomoisky
is involved in that bank. But it was that guy Slav, Czech or something,
some really difficult to pronounce name, but this is where they were
sending all the money to Hunter Biden. And so basically, I mean, I don't
know, I was looking around James Cormier, I don't think has announced it
yet or maybe he has now.

00:01:14:17 - 00:01:43:24
Unknown
But when I was looking at it before, hadn't really announced exactly the
precise when and where of this press conference he's having on Wednesday.
And I wasn't going to do it stream today, but I got actually a very
unfavorable ruling in Goodman v Boosie favorable for Chris Boosie
actually major disappointment. We'll talk about that in a minute. But it
seemed to kind of coincide.

00:01:43:24 - 00:02:23:07
Unknown
It's got nothing to do, obviously, directly with Hunter Biden and all
that. But this whole theme of people getting away with stuff when you
know and everybody knows they shouldn't be getting away with it. But just
first, in terms of Hunter Biden, it seems to me James Colmer maybe hasn't
I don't know why he wanted to announce this press conference, but now
that he has, it seems like there's this kind of competing timeline of him
releasing some kind of information that's been purported to be like this
explosive bombshell and bombshell type stuff that's you you're not going
to reveal the biggest financial scandal in the history of financial
scandals.

00:02:23:07 - 00:02:50:08
Unknown
I don't doubt it. And then I was talking to Charles earlier and he
pointed out that Joe Biden didn't announce his run for president in 2020
until four days after Zelensky won the election in Ukraine. Now, that's
super interesting because I'm sure we're going to talk about this with
Charles on Wednesday and get more in-depth because he's going through the
whole timeline and everything.
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00:02:50:10 - 00:03:12:24
Unknown
And he brought that up. And it's interesting because it seems like here
you got Hunter Biden, who's this guy with this incredible appetite for
risk smoking crack and going to some kind of ketamine spa or whatever.
Was that in Miranda Devine? Yeah, that was in Miranda Devine's book. I
think that got that out of a laptop that he was going to the ketamine
spa.

00:03:12:26 - 00:03:34:14
Unknown
But and every single hooker under the sun, I mean, that guy's got quite
an appetite for risk. So let's say you come up with a scheme where you're
going to do all kinds of, you know, get millions of dollars to him and
his, you know, sister in law or girlfriend or whatever she is and the
uncle. And every so they have 12 people in the family getting the money.

00:03:34:16 - 00:03:53:05
Unknown
But you basically pin it all on Hunter. I mean, what I'm getting at is it
seems like Joe Biden is rearing up to pardon Hunter And why wouldn't he
just wait for the DOJ to charge him, indict him or whatever, and just
instant pardon and people will freak out and be like, oh my God, we hate
you or, you know, controversy.

00:03:53:05 - 00:04:14:25
Unknown
And then some people will say, well, no, it's his son. And, you know,
this is probably Trump's fault or something. And basically just make it
be okay and then we'll all have to like, walk around and act like it's
completely normal that Hunter Biden is rolling around, smoking crack,
banging hookers, getting billions of dollars funneled through the
Ukraine.

00:04:14:25 - 00:04:40:26
Unknown
I mean, you know, my interpretation of that set of facts is that Joe
Biden wanted this war in Ukraine because it gave them the perfect excuse
to send, whatever it is, $113 billion. I heard somebody on TV say it's up
to 50 billion. It's like, wait a minute, now. I had to check the date on
the broadcast because I thought they passed 50 billion long, long ago.

00:04:40:28 - 00:05:01:18
Unknown
But the point is, we know Zelensky or they admitted, I'm sure that's much
more than what they said, but they said 400 million just to Zelensky. So
how much, you know, did the rest of them steal? And if Hunter Biden has
an account at this bank in Cyprus and there's a whistleblower in Cyprus
who's now is missing, do I have all this right?

00:05:01:18 - 00:05:20:20
Unknown
I mean, I don't know. We've got to check this, but again, I'm just saying
it seems like this is cooking up to happen. Ireland, right? Why? Right.
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What was he doing going to Ireland? I mean, there's all these questions.
Don't you think you should be staying home and, like hanging out with his
lawyer and he's got a kid with that blond?

00:05:20:20 - 00:05:43:21
Unknown
What's her name? Cohen. Not the you know, he's got two kids, one that he
pretends is in his head. Many kids. What happened to Charles? Nothing
happens to Charles. What do you mean? Oh, that. We were going to do
another show today. Yes. Charles got sidetracked, Caught up. He's quite
busy, you know, and we couldn't do that. So I think we'll just revisit it
on Wednesday.

00:05:43:21 - 00:06:10:03
Unknown
And this is another opportunity to test this new, hardened, more robust
system, give it a couple of hours of operation before we I just don't
want to subject Charles to another technical failure like that. But you
know, this you might have noticed in the thumbnail here, we've got the
stupid Mario Brothers there. What are they doing there? You know, because
it's this is speculation.

00:06:10:03 - 00:06:40:24
Unknown
Of course. I don't know if these people are criminals. I'm asking, are we
seeing criminals getting away with it? I don't know the answer. This is
pure speculation, opinion based on facts and evidence, you know,
available here in the public domain. And also, by the way, just because
we're going to talk about a ruling or a report and recommendation from
Goodman v Boosie, it's important that people remember I'm not a lawyer
and nothing that I say is legal advice.

00:06:40:24 - 00:07:10:05
Unknown
Nobody should take any action based on anything I say ever other than
becoming a sponsor on Odyssey dot com slash ad CrowdSource the truth.
CrowdSource the truth dot substack dot com or subscribe Starcom or
Patreon account slash crowd Source the truth but got a reporting
recommendation today in Goodman V Boosie. And by the way, this is
actually more evidence that I'm not qualified to give anybody legal
advice.

00:07:10:05 - 00:07:36:05
Unknown
I am not a lawyer at all. I don't know what I'm doing. And the law is
complicated. It's very, very difficult to have success in court. So what
happened is there's a lot of things that have been going on in the case.
And, you know, the judge has this ability to handle certain procedural
processes off to a what's called a magistrate.

00:07:36:07 - 00:08:05:00
Unknown
This is U.S. district court here in the southern district of New York.
And so the judge gives these certain procedural things to the magistrate,
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who is sort of a lower judge, like a vice judge or a co judge or a judge
in training or something. And the they're not appointed. I don't know how
those magistrates get there exactly, but it's sort of like a judge in the
making and they give this report and recommendation, which is literally
that they read over all the pleadings.

00:08:05:02 - 00:08:31:02
Unknown
And this is the more junior judge giving the main judge their
recommendation based on a report from all these pleadings. And, you know,
the judge can say, okay, this is perfect. I agree with it completely.
This is what we're going to do. Or the judge can say, well, we're going
to use this part, but not this part. And also there's an opportunity to
respond before the judge does that.

00:08:31:02 - 00:09:09:18
Unknown
So this isn't final. It's not the end of the case, but it's
unquestionably not favorable to me. This judge, this magistrate judge,
the honorable James Alcott, has basically recommended that the case be
dismissed and that my my motions for sanctions against Chris Busey's
lawyers, who did a bunch of things that I think were against the rules,
he said, nope, no sanctions, totally fine for them to have done what
they're doing.

00:09:09:20 - 00:09:37:25
Unknown
Run-D.M.C. Dude was looking at me like, basically wants to dismiss my
case and sanction me. Not against Boosie, but, you know, this is this is
a whole bunch of people who are in the case. And I don't want to go into
too many details right now. I don't have the case in front of me. And
like I said, it's not final, but they're basically trying to prevent me
from being able to reintroduce certain claims.

00:09:37:25 - 00:10:01:26
Unknown
And I can't help but notice that the claims they don't want me to
reintroduce are the most damning claims to winning over here. But it's
summertime. I like coming over here by the water and checking out what's
going on and they're building something. I want to see how close they're
getting to whatever it is they're doing to the highline over here.

00:10:01:26 - 00:10:26:08
Unknown
Well, keep going anyway. They're trying to make it so that I can never
bring any claims relative to any of the stuff that I'm talking about with
Peter Smith. It's remarkable. It's sort of the same thing that the same
thing in spirit at the Emmys. We're trying to do. You know, they wanted
me to never be able to speak about Adam Scharf again.

00:10:26:10 - 00:10:49:19
Unknown
We've seen a helicopter landing over there. So, I mean, this is all
warfare. This is all them trying to manipulate stuff. And, you know, they
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wanted me to also have to pay $40,000 for their legal fees. The
magistrate fell short of that. And now, again, the regular judge could
look at his report and recommendation and say, no, this isn't harsh
enough, make Jason pay.

00:10:49:20 - 00:11:17:04
Unknown
They could say that. So again, all this is a reason not to take legal
advice, not a lawyer, not giving legal advice. Succeeding in court is
super difficult. So what do they when is this going to work in progress?
It's currently closed. Yeah, I mean, there was I think I did go walk all
the way over there at one time.

00:11:17:04 - 00:11:48:25
Unknown
I don't know what they're building a museum of derailed trains. It's
going to be big. This is actually pretty nuts to behold. You know, I was
looking at a picture I took of the Empire State Building in the 1990s,
and none of this Hudson Yards was over here. It's really you don't kind
of notice the density of New York City growing up around you when you
grow up in it.

00:11:48:28 - 00:12:20:08
Unknown
But there it is. Yeah. So anyway, the judge basically was like, yeah, now
nothing Jason wants is going to happen and let's just end this case and
with prejudice so he can never bring it back again. Not really that good.
Albert. Paula, is that true? Oh, you see, now this person don't go
shouting stuff like that out. What evidence do you have of that?

00:12:20:10 - 00:12:42:19
Unknown
Well, thanks, Boston. Are people saying they thought they had an
excellent case against Boosie? Here's what it comes down to. People may
recall that I had that phone call with Uzi. You can still see it on
Odyssey if you they've they've tried to remove it from everywhere because
you see there's there's something underneath the surface here. And this
goes back to this guy Peter Smith.

00:12:42:22 - 00:13:08:17
Unknown
We got to get a handle on this Peter Smith story because as a windstorm.
See, Peter Smith was an associate of Charles Lortel before I knew
Charles, Peter Smith died and a couple of weeks before I ever met
Charles. And you know, Charles has been working on the whole Clinton
Foundation thing. And Peter Smith, I never met him.

00:13:08:17 - 00:13:33:25
Unknown
I can't really say, but it's a very odd character. You know, he worked
with David Brock at one time and he was the treasurer for the Atlantic
Council. I think we go back and check all this stuff. I don't have the
information in front of me. I'm going from memory right now, but I'm
pretty sure that's correct. I mean, the issue is he definitely was kind
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of flopping back and forth between Democrat operative stuff and
Republican operative stuff.

00:13:33:25 - 00:13:53:15
Unknown
He create a fund for the the Arkansas state troopers who were, you know,
blowing the whistle on Bill Clinton. I mean, again, it comes back to
these whistleblowers, right? The people on the inside who actually know
they really want to clamp down on those people so that everybody around
them gets the notion that like, hey, look, you know what?

00:13:53:17 - 00:14:18:14
Unknown
If you want to not be able to pay your mortgage and you want to lose your
job and get sued and have people put poisoned snot on your car like Nate,
can we touch that? And he said he had a stroke. Can you believe that?
This things that I'm not going to say. But anyway, the point I'm getting
at is they really want to shut up.

00:14:18:14 - 00:14:44:19
Unknown
Anybody who would have access to real information that could be damaging.
I mean, think about it. If you are going to go and steal millions and
billions by laundering money through Ukraine, sending weapons there and
having crooked deals with, you know, who's that guy they let out of jail,
who is a weapons dealer, that that merchant of death or whatever, who who
knows what kind of deal they made with him.

00:14:44:19 - 00:15:07:01
Unknown
The FBI is up to so much screwy crap. You know, you let that guy out of
jail and I think suddenly he's working for you. You know, go over to
Ukraine, you're going to receive all these Javelin missiles and whatever
you sell them and give us the cash. Who knows what the hell the deal is?
I'm speculating, of course, but I think a lot of people would agree it
doesn't make any sense what they're doing in Ukraine.

00:15:07:01 - 00:15:28:00
Unknown
And it seems like a way to cash out a ton of people. I'm not talking
about just the Bidens, but this seems like what's going on. And what
would stop Joe Biden from pardoning Hunter? The second they indict him,
you know, he'd lose the election. But I don't think they care. He's not
going to win anyway. I don't even think he's going to live until
November.

00:15:28:02 - 00:15:38:21
Unknown
He is just so nonfunctional. It's bizarre what's going on over here.

00:15:38:23 - 00:15:58:07
Unknown
But, you know, it's a beautiful day. And I wanted to come out. I want to
talk to people about this because, you know, again, I'm not even implying
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I'm not I'm being serious. I'm not implying that there's any connection
between what's going on in my case and with Hunter Biden. I don't think
there is. I'm just saying it's all the same kind of getting away with it
now.

00:15:58:07 - 00:16:20:24
Unknown
What's this? They got some kind of beach party set up here at the Jim's
Place that doesn't seem to have any gyms. Actually, it's tough to get
gyms in New York. I don't I don't know. I haven't tried in a while, but
it's not like L.A.. Yeah, No, you had to go to area in New Jersey to get
a technocrat.

00:16:20:26 - 00:16:53:23
Unknown
Let's see what is going on here. Backyard and Hudson Yards presented by
Wells Fargo, of course. Oh, yeah. They all say Wells Fargo. So what are
we got a concert or something? Oh, movies for big LCD screen. All right,
cool. What's this sign? Say, don't steal the chair. Exclusive benefits at
Hudson Yards. All right. I guess I still haven't been up in this thing.

00:16:53:25 - 00:17:16:24
Unknown
Not that interested in it right now. Somebody ask me if I'm familiar with
Google Loft. I don't think so. Who is that? I am, But there's lot I don't
think I could love a good deal. Vox is asking about videos in front of a
bush. Yeah, I mean, I've preserved a lot of those videos. Those are
strange videos, right?

00:17:16:24 - 00:17:37:21
Unknown
I mean, that's somebody who is antagonizing me like crazy. But I sort of
lost my train of thought there. We were talking about Hunter Biden. Yeah,
he's going to he's going to pardon him. And then Joe is going to go away
and everybody is going to be like, oh, that was scandalous. Next thing.
And, you know, all this wealth is sucked out of the United States.

00:17:37:23 - 00:18:03:25
Unknown
So many people are killed in this truly evil process. And now, oh, yeah,
Title 42. It's like so many things are going seriously wrong. This title
42, they've got that tidal wave of people marching into Texas and people
seeing that footage. All right. Wait. Speaking of Texas suicide building,
somebody says, right, that's the wedge or the ledge or the right.

00:18:03:25 - 00:18:25:26
Unknown
What does it verge? What the hell? I can never remember the name of that
thing. Wedge. I think, for Texas, Right. We had you know, I don't know.
Yeah. The whistleblower was arrested in cyphers I think obviously knows
about what's going on with this private bank and money going to Ukraine
through Burisma, blowing up the pipeline. I mean, all this stuff, it's
like total Sopranos type of stuff.
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00:18:25:26 - 00:18:57:24
Unknown
But just going back to Texas for a second now, did people notice that the
reporting today on the Allen, Texas shooter who they're saying, you know,
like last night they came out saying that the 33 year old Mauricio Garcia
at approximately 330, in case you didn't get it, that he's 33, that guy
who doesn't look like the pretty heavy set guy who's shot and dead in the
photo, it's weird, I think.

00:18:57:26 - 00:19:29:07
Unknown
What's so we'll check out what's going on and go right to the heart of
crazy and see what's going on in Times Square. But he the guy you know, I
don't know people. If you saw my video that I did yesterday, we had that
image from Triple D customs and collision. Now, a lot of people wrote to
me and said that this is just a Dallas logo that they had around the
eighties now, but that that Texas that state of Texas in the center of it
that's different than the standard triple D Dallas logo.

00:19:29:07 - 00:19:49:21
Unknown
Oh yeah and you just saw that guy's head went by I mean, you know, this
is all inconclusive, but it was interesting that it went right to that.
And they they put out these pictures. I think I first saw this on Shepard
and embellishes Twitter. But, you know, I will admit that we need more
evidence to come to a conclusion.

00:19:49:21 - 00:20:12:23
Unknown
But this guy laying on the ground looks more like the build of the guy
from the triple D customs place than this skinny sort of, you know, lanky
Mauricio Garcia that they've shown us who showed up out of nowhere. 33
And now all the pictures I'm seeing of the guy laying dead on the ground
have his left hand cropped out.

00:20:12:23 - 00:20:34:09
Unknown
So you can't even see that tattoo. Why do that? I mean, we know why. It's
a it's a stupid way to pose a hypothetical question, but I'm saying
notice that. Isn't that interesting how this whole manipulation of the
narrative takes hold? I mean, it's nuts. Yeah, I was thinking about this
earlier. The stuff that they're trying to do to me is straight Stasi
tactics.

00:20:34:09 - 00:21:20:16
Unknown
Remember David Hawkins used to talk to us about zeros. It's the stars
tactic of decomposition of the target, you know, where they would like a
political dissident or just anybody they didn't like. They would do this
process, too, and it would involve harassing them, you know, making them
lose their job, harassing their business so that they want to fire the
person, harassing their friends, spying on their friends, get their
friends to kind of like tattle on them or tend to happen.
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00:21:20:19 - 00:21:40:23
Unknown
But this decomposition, I mean, it sounds very much like what we've heard
the FBI did to Martin Luther King. Right. Sending them letters or
something to kill himself. What details do people know about that? I
think most people have heard about that. I guess that came out maybe when
Martin Luther King's family sued the government. But what exactly do we
know about that?

00:21:40:23 - 00:22:10:01
Unknown
Do we know the names of the agents who did the harassment? Were they were
they like, you know, FBI special agents or were they some kind of
contractors to the FBI? You know, they have all these confidential human
informants, these rap raps types. Maybe that's what the Super Mario
Brothers are. I don't know. But I'll tell you their oh, look, didn't this
go out of business or something or get bought by Joe Biden?

00:22:10:03 - 00:22:38:14
Unknown
Yeah, Bank is fine. I'm just going to print more money and put it in
there. What could go wrong with that plan? But anyway, it just seems like
this is what they're going to do. I don't know. I was mostly discouraged
about this report and recommendation from Goldman v Boosie because I
think it's pretty obvious that Chris Boosie did what he did deliberately.

00:22:38:16 - 00:23:27:18
Unknown
What it essentially is coming down to is right. This is what I was going
to start with before he died in 2021. I think it was December 2021 or
something like that. I was communicating with Ben with his over Twitter
about this matter to do with Peter Smith and again, to give the overall
I'm sorry I'm so disjointed in the telling of this, but walking around
New York City, it's very distracting, I believe, based on the totality of
evidence that I have seen, that Peter Smith's purpose for dealing with
Charles was specifically to befriend Charles, gain his trust, and then do
something to seriously screw up Charles, because Charles is a major
threat to the

00:23:27:18 - 00:23:49:02
Unknown
Clinton Foundation and the people who are attempting to, if he is correct
in the things that he has presented to us, which I believe he is, he
represents a pretty substantial threat to criminals who are trying to
steal millions and billions of dollars. So it would stand to reason that
if you're stealing all that money, you've got a budget for stopping that.

00:23:49:04 - 00:24:16:05
Unknown
I have a six. That seems like you would, right? So I allege Peter Smith,
who was introduced to Charles by a guy named Tom Lipscomb, just came.
Yeah. And he shows up in the story later. Anyway, Peter Smith, I believe,
was tasked with giving these 33,000 emails to Charles and Peter Smith
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might have thought they were legitimate. That would be the best way for
the plan to work.

00:24:16:05 - 00:24:37:26
Unknown
You know, Peter Smith wouldn't be read into every level of it. He might
be getting tricked to think that the emails he's receiving are actually
coming from Russia. And as an aside, there's a bunch of people who have
made a bunch of allegations against Chris Busey online for a long time.
My opinion is that's happened because he's a serial scumbag who's
involved in a lot of scams.

00:24:38:02 - 00:25:00:17
Unknown
I can't prove that. That's just a statement I'm making pure opinion based
on evidence in the public domain and things that other people have said.
Third parties that I can't confirm. You should form your own conclusion.
This is a statement of opinion, but I think he's a scammer. So people in
the past have alleged that he's used servers in Russia to do something or
other.

00:25:00:17 - 00:25:24:06
Unknown
I don't know exactly what something to do with iconic expert and some
sort of blockchain coin this guy was doing something with. But anyway,
the notion that he could use a VPN or a server in Russia or some sort of
technology to fool Peter Smith, who was like 81 or 82 and not stupid by
any measure, but not a super duper computer expert.

00:25:24:06 - 00:25:53:27
Unknown
I think Boosie or other computer experts could certainly for him, they
could fool experts. Experts can be fooled. But the point is, there's a
lot of evidence that causes me to believe that Peter Smith was intended
to get these emails to Charles and that the emails from Charles were
intended to go to either Jerry Corsi or Roger Stone and eventually get to
Donald Trump.

00:25:53:29 - 00:26:21:05
Unknown
And that these emails, you know, these Russian emails, these 33,000
Hillary Clinton hacked by Russia emails, they were going to be evidence
to be passed off to Trump that they would then demonstrate were false,
fabricated, fraudulent emails. The idea would be to make Trump look
stupid, make Charles look stupid, make Corsi look stupid, make Roger
Stone look stupid and make any kind of claims related to emails.

00:26:21:11 - 00:26:49:12
Unknown
Oh, back to the hacked emails. This is another hacked email story. Ha ha
ha. And they make fun of everybody who, oh, get in near the cops and
their radio stuff is doing something, but you get the picture. The idea
would be to pass off some data probably created by Chris Boosie. Again, I
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can't prove that. That's pure speculation opinion based on evidence and
information in the public domain, but I think that's what happened.

00:26:49:14 - 00:27:16:11
Unknown
And some of these things I would have gotten to in the lawsuit. Remember,
the lawsuits are not over yet, but it did not go well for me today. This
report and recommendation, if it does get adopted, even in part
substantial portions of the case, will definitely end. So that's bad.
But, you know, litigation ain't easy. And I don't know what the hell I'm
doing.

00:27:16:17 - 00:27:55:28
Unknown
This other thing that's going on is the judges are like, Oh, well, you
know, Goodman Is this like very sophisticated, pro se litigant, So we're
not going to construe his pleadings as liberally as I normally would for
a pro, say, I mean, and that's ridiculous. That's like, that's like if I
come down from the stands at a basketball game after having four beers
and do the half court shot and by pure coincidence, sync a three point
thing and win a Cadillac and suddenly they're like, okay, you can play
against the Knicks now.

00:27:56:00 - 00:28:22:00
Unknown
No, that's not how it works. I mean, yeah, I'm aiming for the basket. I'm
trying to get it in there, but I don't know what the hell I'm doing. And
I'm definitely not an attorney, so I think that's a little bit unfair.
But this is this is like mature lawfare that is, you know, they got case
upon case and nonsense thing upon nonsense things stacked up on me that
are creating super complicated complications.

00:28:22:02 - 00:28:45:04
Unknown
And, you know, they're referring back to things that other judges who
frankly, I think are involved in this whole you know, I've laid out the
evidence in the Twitter coup. If people haven't read that Twitter COO
article, I really encourage you to do it. It's totally free to read the
article if you go over to crowdsource the truth dot substack dot com.

00:28:45:04 - 00:29:16:09
Unknown
What's going on? We have a line here. This is like a school trip from
some other country. You don't get in line at a crosswalk in New York
City. All right, enough with 10th Avenue. This is ridiculous. We're going
to go into the fifth. But yeah, so, I mean, it's like me versus teams of
lawyers who are coordinating their activity in ways that, you know, isn't
directly conspiracy.

00:29:16:09 - 00:29:38:10
Unknown
But when they're able to coordinate certain things so that it is
unfavorable to me, I'm going to do everything that I can to keep the case
alive. I don't want to talk too much about what I will do next, because
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obviously every single thing I say and do the the pathetic, psychotic,
stupid Mario Luigi, he's sitting in his RV right now.

00:29:38:10 - 00:29:59:17
Unknown
How do your feet smell? You can smell them. They're disgusting. Yeah.
Maybe the guys know about this more than the ladies. You didn't like the.
You play hockey and go in the locker room? Or maybe you had a roommate in
college whose feet really get that Kind of like that. Like awful
fermented cheese. Cheese? Isn't that what it's like right now in the RV?

00:29:59:17 - 00:30:30:24
Unknown
Big Dave? Oh, God, it's disgusting. It's probably got fungus in his
toenails anyway, so he's watching every single thing I do and he will
look for any. What's the Pineapple Hotel? It's interesting. Stay,
pineapple. I don't recommend that this is an incredibly bad part of town.
Now, don't stay there. That's for people from Europe to maybe. Oh, well,
I don't know.

00:30:30:24 - 00:30:55:23
Unknown
Maybe they're cleaning it up. What's going on here? I wouldn't stay
there. This is where you've got all of your hot dog vending things store.
Definitely no rats living in there. Eric Adams and the rat czar could go
there and check that out. But Peter Smith, as far as I can tell, people
wanted him to deliver bunk emails to Charles.

00:30:55:26 - 00:31:21:25
Unknown
And remember Corsi, he said in the citizens grand jury that the FBI was
super interested in this phone call that he had with Ted Malick over face
time. And I remember from Dubai that face time is not allowed in Dubai,
and I think it's because of the encryption. They want to listen to
everything you're saying over there. You've got no rights in Dubai.

00:31:21:25 - 00:31:50:14
Unknown
Everything is owned by the king. Oh, what's his name? Big, long thing.
And that's the guy who threw his daughter in jail. What's happening with
Princess Latifa in the UAE? I don't know. I haven't looked into that in a
while. I haven't spoken to Hervey. There was a whole thing going on with
that. So their plan failed. And remember Peter Smith, he was over at that
hotel near the Mayo Clinic.

00:31:50:14 - 00:32:17:24
Unknown
So it's possible that he got some kind of, you know, fatal kind of
terminal cancer diagnosis or something. And this is super interesting
too, because all of these people who are friends with the people who were
named in the lawsuit are all hovering around this whole thing. So Peter
Smith dies, according to the official story, by suicide from inhaling
helium in this hotel room.
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00:32:17:26 - 00:32:48:24
Unknown
And there's a note that says there's no foul play here, no need to
investigate, blah, blah, blah. And the door is bolted from the inside and
all this murder mystery type stuff. But, you know, Shane Harris, who
reported to all of this in The Wall Street Journal and later The
Washington Post and on MSNBC with Rachel MADDOW and on the Lawfare blog
with Ben Whities, They reported all of this stuff.

00:32:48:27 - 00:33:14:16
Unknown
And when I tried to contact them with information about the story, these
guys were absolutely controlling the story. Multiple articles and video
reports about it. And you'd think if somebody called and said, Hey, I'm
calling on behalf of the person who was the last guy in communication
with this dead guy you're writing all these stories about, and there's a
couple of holes in your story you think you would want to hear about
that.

00:33:14:18 - 00:33:39:12
Unknown
But the thing is, these guys were obviously resisting that information.
And I believe still that it's because they were trying to cover up the
real reason for the suicide or maybe somebody else was there or what
Peter was involved with in this whole scheme to trick Charles and Corsi
and Roger Stone, because remember, it was Charles who sent the email.

00:33:39:12 - 00:34:01:02
Unknown
This is why the FBI came to speak to Charles, because he had sent an
email after seeing Julian Assange on something on television or YouTube
or something, and he said somebody should go to England and speak to
Julian Assange. And the FBI wants to investigate him for saying that he's
just watching TV and somebody comes on there and says, Who do you know in
London that could go talk to that guy?

00:34:01:04 - 00:34:25:14
Unknown
You're not allowed to do that, according to the FBI or they're going to
come investigate you. And by the way, if stupid Mario Brothers are Ray
Epstein, confidential human informants and Ray says he isn't. So that's
an open question. Other people see evidence that causes them to believe
that he is. He says, no, we don't know. But we do know there are
confidential human informants.

00:34:25:14 - 00:34:59:25
Unknown
Okay. Marshall Richards, for one, The Washington Post told us he was a
confidential human informant. George certainly didn't tell me that. He
said he had worked for the three literary agencies, but he wasn't really
very explicit. If he had said, Oh, yeah, by the way, you know, this guy,
he infiltrated a militia in West Virginia and kind of like, coerced them
into buying bomb parts or brought bomb parts to their office or something
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like that, and then told the FBI they were trying to build a bomb and
then sent to go to jail for 19 years.

00:34:59:25 - 00:35:25:09
Unknown
Who said? He wasn't trying to build a bomb. Richards brought all the bomb
parts. That's what he said. I don't know the truth. This is my reporting
on hearsay statements from third parties that are in the public domain.
I'm just giving you opinions, anecdotal musings about these things. But
anyway, these guys could also be, yeah, they don't want the truth.

00:35:25:09 - 00:35:42:01
Unknown
Exactly. Melinda No, of course they don't want the truth. Because if
somebody called me and said, Hey, I have some breakthrough information
about some story you've been talking about a lot, if somebody called and
said, Oh, Clinton Foundation, we have breakthrough information, I
wouldn't say, Oh, that's scurrilous and hang up the phone. I'd say, Well,
what have you got?

00:35:42:01 - 00:36:12:10
Unknown
Talk to me and let's understand what it is that you're looking at. And if
it's interesting information, I want to hear about it. I don't want to
hang up on the person. I really don't get it outside the context of them
trying to actually hide this information that makes sense given the way
they've behaved. And again, the thing that this magistrate is ordering is
Jason is not allowed to bring any lawsuits to talk about anything having
to do with any of this stuff, because that's what these guys want.

00:36:12:10 - 00:36:40:24
Unknown
They're trying to stipulate reality. That's that's the whole essence of
lawfare, right? They want a ruling in court that says that Jason's a
conspiracy theorist and Trump did whatever he they claimed that he did
with Alvin Bragg. And once that's decided in court, there's a ton of
people who will just say, oh, you see, they had an investigation.

00:36:40:24 - 00:37:04:11
Unknown
They had a trial, boom. That's what happened. So there's a number of
things. They're not going to let this end because there are still loose
ends. See, I understand a lot better what's going on now than I did when
this all began. That doesn't mean I'm a lawyer because I'm not. You know
what? Wow. I guess this is what Charles was talking about, Mr. Broadway.

00:37:04:11 - 00:37:39:01
Unknown
Is this a Chinese restaurant that used to be Ben's deli? What the hell? I
didn't realize this was closed right? Oh, no, that's not a Chinese
restaurant. The new home of Mr. Broadway. Wow. I didn't realize Ben's
deli had closed. Wow. That's been there kind of forever, or. Well, not
anymore. There's a Korean born Chun mob. Yeah. Yeah.
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00:37:39:01 - 00:38:10:00
Unknown
This is a bad neighborhood. This is where my office used to be. I rented
it here because it's cheap. And the funny thing is, you know, back in
those days, even bad neighborhoods, it was nothing was really going to
happen to you. I hope that's still the case. So, yeah, I mean, I don't
know. I was just trying to raise Boosie Box and get all up on Boosie with
this lawsuit.

00:38:10:00 - 00:38:35:17
Unknown
I was hopeful that we were going to find out, you know, definitively what
the hell was going on with Peter Smith because so Shane Harris does all
this reporting and again, it comes back to Twitter because Harris tweets
the thing and this is in the phone call with Boosie, this is why they
hate that phone call so much is like lawyers hate it when you record them
because they want to lie and then stipulate that the agreed upon facts
later.

00:38:35:17 - 00:39:02:04
Unknown
They don't want to be held to empirical facts or evidence or actually
have to admit that they're lying. Like people are like, Oh my God,
Anthony Blinken lied. Of course, all of these, you know, big money lawyer
people do nothing but lie. It seems so anyway. Yeah. Shane Harris tweets
out, Oh, here's my article about Peter Smith and guess who's all over it?

00:39:02:04 - 00:39:35:25
Unknown
Chris Boosie, you know, he was saying, Oh, this is suspicious and stuff
like that. And now they've deleted these tweets. Why did they do that? Is
it because my filings are frivolous and have no basis? I mean, granted,
the judge is right about a lot of things when I haven't properly pled
things and he explains it. Okay. Yeah, and it's true if you're, you know,
a pro se, they're not giving you ultimate leniency to submit, you know, a
launch menu and call it a legal pleading.

00:39:35:25 - 00:40:01:18
Unknown
But at the same time, I do feel like they're being a little bit unfair
and the whole you're not allowed to bring any of this stuff back against
Ben Whitney. He's talking about his, you know, anything to do with Peter
Smith. It's very strange. And then I was reminded that a few days ago,
The Intercept had that article about Avril Haines.

00:40:01:20 - 00:40:29:27
Unknown
You know, she's the director of National Intelligence. People hear that
in the like, Oh, yeah, of course, DNI, the Office of the Director of
National Intelligence. So the government created a new disinformation
office to oversee all the other ones. This article says the new Foreign
Malign influence center oversees efforts that spanned US military, law
enforcement, intelligence and diplomatic agencies.
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00:40:30:00 - 00:40:58:17
Unknown
See, where does this thing start and where does it end and who's involved
and what are they doing? I found out today that dumb George is suing
Doctor Malone. He did good. I don't know what that lawsuit is about. I
couldn't immediately find it, but it's just interesting how these guys
are all over the same crap, right? Malone is represented by BIS.

00:40:58:19 - 00:41:31:28
Unknown
George is suing Malone. Remember? It was George who introduced me to
Robert David Steal. And then his brother kicked off all the lawsuits.
It's amazing. I just want to get these guys away from me. Really? So
anyway, that's what's going on with that. I mean, I forgot to mention
earlier when I was talking about that Texas guy that today, in addition
to cropping out all the pictures of the guy's hand, somebody did post on
Twitter some more pictures.

00:41:31:28 - 00:41:51:28
Unknown
People are saying it's a gang tattoo or whatever. I don't know. The
mainstream news is trying to say he's a white supremacist. And then now I
saw they had articles trying to convince people that Hispanic white
supremacists are happening. So, yeah, this guy definitely has a similar
tattoo right there. He's got kind of like a I mean, it's not Texas in the
middle of it.

00:41:52:00 - 00:42:16:12
Unknown
And then the other thing is, look, obviously this has been through
Photoshop. Somebody tiled out that girl's face. So how do we know they
didn't just stick that tattoo on his hand with Photoshop and why did it
show up a day later? I don't know. Is that legit? They're saying this
guy's a white supremacist, but where does he have the tattoo or No,
that's it.

00:42:16:12 - 00:42:33:25
Unknown
If they show us this guy, if we ever, ever, ever see his left hand again,
if it doesn't have the tattoo remotely resembling that, that's definitely
not the guy. Or either that or they killed some other guy and put him
down for that photograph to show you a photo of some other dead guy. But
that's what I mean.

00:42:33:25 - 00:43:06:20
Unknown
People jump to conclusions. We've seen a little piece of video from down
in the subway of that guy, Danny Panay, choking Jordan nearly where this
is his stomping ground kind of Times Square. I guess he was Michael
Jackson in here at some point in the whole thing. Let's see what's going
on in Times Square. Well, it's at least nice that, you know, the sun is
staying up later and you can kind of enjoy the day a bit more.

00:43:06:22 - 00:43:37:29
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Unknown
But lawfare is very frustrating. And, you know, part of me just wants to
forget about all this and let these lawsuits end. But they're really not
over. And again, there's certain aspects that I don't want to discuss
because obviously the stupid Mario Brothers are listening and doing
things based on what I say. So Richard de Leon says Texas shooting was an
FBI PSYOP.

00:43:37:29 - 00:43:59:13
Unknown
I think that might be right. I mean, they're certainly controlling the
narrative. That's what's interesting to me is to observe how this gets
controlled. Like the images are out there one day and then gone the next
day. What is that guy doing riding around like that, blasting that music?
What a jerk. You've got a city full of jerks.

00:43:59:13 - 00:44:45:29
Unknown
We've got a country full of jerks. It's terrible. Oh, my God. Here's
Arnold Schwarzenegger with a new movie. At least it's appropriate title.
Netflix series Heroes don't retire. They reload. Emphasis on load. This
is the one mosque. So. Oh, yeah, that reminds me. Laura Loomer has a
lawsuit against, I think Facebook and Twitter. No care, right? It was a
care getting her kicked off and see the social engineers are very
interested in that as well.

00:44:45:29 - 00:45:15:23
Unknown
Why is that? I mean, it's got to be because Laura is extremely effective
and they're trying to, you know, take out people who are effective at
changing the narrative or challenging the narrative or pointing out how
they're manipulating it and stuff like that. That could be why they're
interested in her. But got Yeah. So she is now countersuing, not
countersuing.

00:45:15:25 - 00:45:44:07
Unknown
She's suing her former attorney for malpractice. She had Ron Coleman
representing her. See, and that's the thing I like when I, I haven't
really read that lawsuit, but I looked at it and I noticed something that
I thought was a problem. And it is, in fact, the problem, which is that
they were relying on is it called diversity jurisdictions or something
like that, where, you know, you're in federal court and you're suing
people.

00:45:44:07 - 00:46:07:17
Unknown
If you're in Florida and you're suing people in, you know, New Jersey and
Minnesota and stuff like that, you've got diversity among the parties.
Again, this is not legal advice. I don't know what I'm doing. I'm not
doing very well in court. I'll experience the movie event in 3D. There's
no way they shot that 3D Little Mermaid. So check it out.

00:46:07:20 - 00:46:53:03
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Unknown
See there? I just got distracted. What was I talking about? I didn't
where going to come back to me. Somebody I mentioned in the comments.
Wow. I just totally, you know, I totally forgot what I was talking to. I
mean, it creates a certain kind of show walking around. Look at that. You
got the New Year's Eve ball up there.

00:46:53:05 - 00:47:47:23
Unknown
What the hell was I just talking about? Oh, it's just nice day to take in
Times Square. Yeah, we were talking about the shooter in Texas. Right?
Right. How they coordinate these stories so quickly through the
mainstream media. I mean, it really is something that we got to
understand a little bit better because, you know, right away they got out
these images and videos of Jordan Neely as a young and healthy, appealing
looking Michael Jackson entertainer, not as a, you know, wretched looking
drug addict, harassing people and going crazy.

00:47:47:23 - 00:48:09:28
Unknown
And somehow they were able to really tamp down those images and boost it.
See, it's the same kind of thing as Twitter or YouTube. They decide not
organically. They decide which videos. Oh, yeah. Laura, Laura. Right.
Thanks for inviting. They decide what things rise to the top. This is the
picking of winners and losers. And so same kind of thing with Laura.

00:48:09:28 - 00:48:32:24
Unknown
Laura had this lawsuit against care saying that they had done something
with Twitter to her, kicked off of Twitter. I wouldn't be surprised. I
don't again, I don't know the details of lawsuit. I'm just, you know,
filling people in on what I know, which is that she lost and they said,
oh, you've got it right. Diversity. That's what we were talking about.

00:48:33:00 - 00:48:57:24
Unknown
So when I was looking at the suit, the first thing that confused   me was
that they were relying on that diversity. But she was suing Care   Florida,
and she lived in Florida. And I remember thinking, well, I'm not   a lawyer
and Ron Coleman is. So he must know something that I don't know.   But this
seems to be one of the reasons why they weren't able to make the   lawsuit
fly, because they didn't have diversity jurisdiction.

00:48:57:24 - 00:49:24:01
Unknown
They didn't have total diversity among the parties or whatever. So, I
mean, how could Ron Coleman do that? Is there something I'm not
understanding about this, or was that just like an amateur mistake?
Because what's happened is care. The court decided Laura has got to pay
their legal fees, which was like over 100,000 bucks. And so she's now
suing Ron Coleman for malpractice.

00:49:24:01 - 00:49:52:18
Unknown
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And of course, that sounds like the right thing to do. Maybe he did
engage in malpractice if he did something that, you know, basic that
elementary and he did it wrong and that's just stupid. How could you do
that? I did that because I didn't know. And I'm not a lawyer. I haven't
been to law school. I did that in Goodman V Sharpe, and they told me,
Hey, by the way, bang, you're suing the National Academy of Television
Arts and Sciences there in New York, so you don't have total diversity.

00:49:52:18 - 00:50:16:19
Unknown
So screw you. Get out of here. This is very complicated doing anything in
court. But I mean, part of the reason that you hire a lawyer is that you
hope that they know what the hell they're doing. And, you know, the other
thing I wanted to say about Ron Coleman, I think I've mentioned this
before. He was one of the attorneys that I had contacted when I was
seeking representation for my company in the Emmys versus my Emmys versus
my company.

00:50:16:21 - 00:50:34:04
Unknown
And he was like, oh, you know, send it to me and I'll look at it. And I
told them what it was all about. And he just never looked at it, never
got back to me, and eventually decided he was too busy. But of course, he
took up Nate's stupid case against Boosie. What happened with that? Has
Nate versus Boosie done anything?

00:50:34:04 - 00:50:59:10
Unknown
Does anybody know? He raised a hell of a lot of money from it, didn't he?
Spoke about me a lot, and he. That case was nonsense. And, you know, when
there was a moment that it would have been interesting for them to cover
it. And I had a Rule 11 sanction going against busey's lawyers and
everything that that got denied.

00:50:59:16 - 00:51:17:08
Unknown
I disagree with that. The magistrate says, no, don't sanction who's his
attorneys. But I again, I don't want to go into all the details of what
they did and why I think they did it. And he thinks they didn't. But man,
that was screwed up. So the thing I read today is that they got some kind
of order.

00:51:17:08 - 00:51:42:10
Unknown
And the reason I saw this is because stupid Mario World is all up.
Laura's business is, Well, why is that? Yeah, I mean, I know why, but
it's just interesting who they cover. But I mean, you know, so Laura is
now suing Ron Coleman through you know, she's represented by Larry
Klayman. And I hope she succeeds. I don't trust Ron Coleman at all.

00:51:42:12 - 00:52:04:15
Unknown
That's my opinion based on his actions. Doesn't mean you shouldn't trust
him and doesn't mean I have any facts other than my anecdotal experience
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in dealing with him and my observations of what's been reported about his
dealings with Laura Loomer. That's information I'm getting from the
public domain. He's a lawyer. You got to be careful what you say.

00:52:04:18 - 00:52:27:19
Unknown
That taxi driver was super interested in what I was talking about. I
don't know. Maybe it's weird to see somebody walking around talking to a
selfie stick or whatever, but. Yeah, so they're jamming up Laura with
Lawfare and she is just tearing up stories. I saw she was she name is
Fake Chicky Rogue says, What do you mean?

00:52:27:19 - 00:52:53:22
Unknown
I agree with that. But why? Why are you saying that? What the hell is
total diversity? I mean, you know, when. So maybe I'm wrong. And again,
me talking about this is not good way to learn about it because I'm not a
lawyer. But what I was told by the judge when I tried to sue a party
where one person was in Connecticut, one person was in California, one
company was in New York, and I was in New York.

00:52:53:22 - 00:53:17:09
Unknown
And they said because this other companies in New York, this court
doesn't have jurisdiction over your case because we're a federal court
and this needs to be in state court or I don't know. But because there
was another party there from New York, I didn't have total diversity
among the parties. Everybody's in different states. So in the next
lawsuit, I didn't include the New York party so I could maintain
diversity.

00:53:17:09 - 00:53:36:07
Unknown
And that wasn't a problem for me. If Ron Coleman doesn't know about that,
he's either stupid or he did something to deliberately screw up Laura.
The other possibility is that there's something else about this that I
don't understand that Ron Coleman does, but if that were the case, it
would seem that the judge would have decided in his favor.

00:53:36:07 - 00:54:04:07
Unknown
So it's possible that Ron Coleman is an idiot. It's possible that Ron
Coleman is one of these trapped lawyers and not a trapped queen. Not to
be confused with Fetty WAP, but I got, I believe, in trapped with a
lawyer who I should sue for malpractice, John Snyder. And he knows I
think this this is my opinion based on things that he did.

00:54:04:09 - 00:54:25:09
Unknown
And the thing that's weird is he was recommended to me by Jared and
Elizabeth Beck, mostly Jared Beck. But there's such strange timing. Do
people remember what happened with Jared and Elizabeth Beck? I had Jared
on the show and he was talking about, you know, this was all during the
time when everybody was going nuts with the what was going to happen.
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00:54:25:09 - 00:54:49:21
Unknown
Are they going to oh, how do I even talk about this? This was like
November, December kind of timeframe, I guess maybe before January 6th
when there was still controversy among people. And Jared was taking a
position that a lot of people didn't like. But he was right. And, you
know, he was getting guff in the comments, which I thought he was pretty
used to.

00:54:49:21 - 00:55:15:13
Unknown
I mean, when he used to be on Twitter and everything, he sort reveled in
arguing with people and insulting them with really hilarious intellectual
kind of insults. But he just started freaking out that all these people
were, you know, hitting them up with crappy comments and anti-Semitic
comments and like, getting mad at me. Like, it was somehow my fault that
trolls were in the comments.

00:55:15:13 - 00:55:49:09
Unknown
I mean, like I said, it would be one thing to get mad about comments, but
it was a totally other thing to get mad at me about comments. Now, what
do people think of this? I don't I'm not sure that I've ever actually
observed this before. This guy's got to be on time. But anyway, he got
super pissed off at me and both Jared and Elisabeth said and did a lot of
really, in my opinion, essentially inexcusable things, but that's why
they haven't appeared on the show since then.

00:55:49:12 - 00:56:15:13
Unknown
And it wasn't until much later that Mr. Snyder did what I can only
describe as I can't prove this, but I think it was intentional. You know,
he was the lawyer for my company was getting super harassed by super
stupid Mario Luigi. But I mean, this is a guy who's representing like
Russian, some guy who's, like, getting beaten up by the Russian mob.

00:56:15:13 - 00:56:56:17
Unknown
Felix People are going to know who that is. He's connected to Trump in
some way also. So isn't that weird that all these lawyers that are
hopping around, all these weird Trump things having to do with Russiagate
and, you know, how do they all know each other? And like, why did Judge
Caproni not do anything to stupid Mario Luigi for harassing attorney to
the point that the attorney quit and said in his motion to withdraw, I'm
I'm withdrawing because of this harassment from this other guy who was a
litigant in the case that you're presiding over where it's total total
vacancy around New York.

00:56:56:19 - 00:57:28:21
Unknown
But the judge did nothing. She allowed him to harass my attorney until he
left. It was it's insanity. It's certainly not justice. And so then,
yeah, see, there's Mark McClellan 911 stuff. So I don't know. Goodman v
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Boosie not looking very good for me. Boosie seems to not yet, but he
might be. What? Jared is supposedly dead. Somebody said, Who?

00:57:28:21 - 00:58:05:05
Unknown
What? Told you that running the lawsuit for Bernie? Yeah, right. Bernie
Primary Who? Richard de Leon. Where did you get that information? From
The Jared DeCoster. Yeah. Goo Goo Goo said that, bro. I mean, I haven't
heard anything about that. Wasn't he? No, he was down with that guy. We
did some lawyer shows with Jared and that guy who was fighting the
vaccine in Florida now who said he's dead.

00:58:05:07 - 00:58:33:13
Unknown
Hey, give us some more information about that. Well, so wait a minute. I
want to hear more about that anyway. Look, I don't know if he's dead and
this has nothing to do with that. But the point is, I think there are
sort of like plays, right? You know, how they have a playbook for
football and I don't know the different name, like the Hail Mary and the
shotgun and whatever, they got playbooks.

00:58:33:13 - 00:58:52:04
Unknown
And you see they get in the huddle and it's okay, we're going to run
whatever. Do that play. Yeah. People who know football are going to know.
I don't know what I'm talking about this either. But you could run a
famous play with a little League team and you're going to get one result
and then you could run it in the Super Bowl and you're going to get
another result.

00:58:52:04 - 00:59:18:10
Unknown
It's different players, different field, different opponent, but you're
running the same play and your objective is the same. The outcome might
differ each time you run it with different people, but you know, you know
what I'm talking about. And I think that there are certain positions,
certain plays, certain ways. They do these different lawfare things, and
it involves, you know, fake co-defendants and certain certain scenarios.

00:59:18:13 - 00:59:45:18
Unknown
That's what I believe Susan Holmes and Patricia Negron were in the first.
Still be Goodman. Still be Goodman went in my direction a little bit,
where I'm supposed to be in the Fourth Circuit, but I didn't get logged
on there today as far as I saw. Law firm still listed. I don't think
that's right. Oh, Jared Kushner, Somebody is saying Jared Kushner is
dead.

00:59:45:21 - 01:00:14:15
Unknown
Where did you get that from? I'm not sure if that's correct either.
People people need to be careful what they just blast into the into the
comments here. Jared Kushner, I don't think he's dead. We'd be hearing
about that. Jared Kushner Let's check the news. Ivanka Trump wears a
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colorful dress after F1 event in Miami. There's a picture of her with
Jared Kushner a day ago.

01:00:14:17 - 01:00:36:23
Unknown
Richard, what are you doing? Putting stupid comments in there. Nobody's
dead. Jared is not dead. Jared Kushner is not dead. Jared Beck is not
dead. As far as we know. Maybe somebody named Jared. Sure. There are
people named Jared who are dead, but nobody that I'm talking about right
now. And the president's son in law are not dead, as far as I can tell.

01:00:36:25 - 01:01:19:24
Unknown
Yeah, they're alive. They are alive. That's just some nonsense that
somebody put into the comments. They're all I was trying to say is there
seem to be a variety of different moves that you can do in lawfare. And
implanting a bunker lawyer on somebody is obviously a great one because
you're going to trust your lawyer. And as I go back over this case again,
either John Snyder is a terrible lawyer, a terrible idiot, or was
deliberately working to screw up my case and then leave at the exact
moment that I had no more money and I was so screwed up that the case was
basically unrecoverable.

01:01:19:26 - 01:01:55:00
Unknown
Since what happened. And it seems remarkably similar to what may have
happened to Laura, I don't know enough about her case to say if that's
true. I don't know if it is, but if it is, that would mean Ron Coleman
might be a scumbag. I don't know. It's just speculation, opinion,
conjecture. I don't know. We're getting a little bit of a taste, the
niceness of New York.

01:01:55:00 - 01:02:32:28
Unknown
You know, when the weather is nice, it's not too hot and you can walk
around, not get attacked by anybody. So, yeah, I mean, they basically
shifted the guy from from being like a low rider, you know, whatever he
was there in Texas costume shop they never said that, but they just sort
of are now pushing this huge story that he's a white supremacist and that
he was, you know, following the regular, you know, we've got to get rid
of the guns.

01:02:33:00 - 01:03:11:14
Unknown
I guess they don't want him to be having a gang tattoo because then now
make people have to do something with gang life and they don't like doing
anything. They most of these people are probably just awkward tourists to
this pedicabs. I really hate that, blasting the music all over the place.
Let's see what's going on here in Bryant Park.

01:03:11:16 - 01:03:45:00
Unknown
So maybe they'll have the movie theater screen up. They do movies in
Bryant Park in the summer. I think they were projecting them out of an
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Airstream for a while. It's a pretty good idea to have your projector in
an air screened Airstream and driving around to parks and show movies in
the summertime. They don't have a screen set up, so I guess it's not
maybe it's too soon, too early.

01:03:45:03 - 01:04:25:14
Unknown
But a lot of people in the park today, right? What is this, splotchy or
something? Yeah. So they don't want me talking about Peter Smith. They
don't actually want to tell you the facts related to what happened to
Peter Smith. They they don't want to talk about, you know, what's on this
guy's left hand Boy, look at that.

01:04:25:14 - 01:04:51:28
Unknown
Doesn't the grass look amazingly good? It looks like they just put that
in. Maybe they did. Right. There was a big, huge Citibank or some bank
had all the Christmas stuff sponsored. I guess they've just gotten rid of
that or put in new grass, I guess, on your mom.

01:04:52:01 - 01:05:23:20
Unknown
Yes. They don't want me talking about Peter Smith because, you know,
Trump is still in place. I was watching Benny, what's his name? Johnson.
He was talking about how that's the RFK said that the CIA was involved in
assassinating his uncle. He didn't exactly say that, though. He's a
lawyer. Right. So he was very careful how he said it, that a
preponderance of evidence suggests that they played a role.

01:05:23:22 - 01:05:56:06
Unknown
There's a lawyer way of saying they did it, but they did. And so Benny
Johnson was talking about that. And then I put a comment on the YouTube
video because, oh, he was asking, who is he interviewing? I forget. But
he was asking about the whole why are they not releasing? Could it have
been Jonathan Turley? I forget, but they were talking about why aren't
they releasing this JFK information, even Trump and he said his hands
were tied and blah, blah.

01:05:56:08 - 01:06:19:13
Unknown
So think about that. So who is the person tying the hands of the
president? Like, who tells him you can't have it, you can't release, you
can't do it or whatever? And then he's not even talking about it, you
know, shattering the deep state. Trump is not even talking about, I don't
know. But so I said because Benny Johnson said, well, you know, in 60
years, everybody who is involved is dead.

01:06:19:16 - 01:07:01:16
Unknown
And I said, They're not all dead. So he said, Oh, you know, text me on a
telegram. I hate telegram. But I did I did message him on there. I don't
know if he's getting back to me or not, telegram any of these things
where they say, Oh, no, it's encrypted. I do not believe that that's
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going to be run by the FBI or whoever and see, so this this came up we
were talking about Protonmail and oh, because Nate Cahn mentioned it and
Nate said, well, you know, Protonmail has its servers in Geneva, so it's
out of the jurisdiction of the U.S. and the EU.

01:07:01:16 - 01:07:31:05
Unknown
And people are like, No, that's wrong and blah blah. I think you might
have been misunderstanding what he was saying or he might have been
misunderstanding what he was trying to convey. I think it's true that
their servers are in Geneva, and I think it's true that that makes them
out of the jurisdiction of U.S. district courts and stuff like if you got
in a lawsuit and wanted to go subpoena proton mail to get somebody an
email, they would say, if you were not answering a U.S. subpoena.

01:07:31:08 - 01:07:59:13
Unknown
Now, that doesn't mean that the NSA or the FBI or whoever can't get right
in there and read your proton mail emails. And I would suggest that they
probably can. I would think that they set the whole damn thing up
specifically so that they could trap people communicating on a network
that they think is encrypted and use it themselves when they don't want
their communications to come on to discovery in in US courts.

01:07:59:15 - 01:08:24:13
Unknown
So, I mean, again, all this stuff plays a role in the law, fair game and
all the people who are running the government now, you know, like they're
there thirties, forties. Jake Sullivan and all of these people and
they're beat up of a behind the scenes people like Adam Sharp, you know,
he's in his mid-forties or something like that.

01:08:24:15 - 01:08:54:05
Unknown
These guys are all, you know they grew up with computers and they're
doing all these schemes, adding now big data is pretty powerful. I mean,
you know, if if what we're speculating about turns out to be correct. Joe
Biden pardons, Hunter crimes of the century go unpunished. He cashes, you
know, millions, billions, whatever it is. Yeah. 12. Bravo.

01:08:54:05 - 01:09:26:01
Unknown
I saw that. Pretty weird, right? What's that now? Might have contributed
to the death of the subway, dude. Yeah. I don't know what's going to
happen with that. You know, they're going to go decide if they prosecute
that guy. They said that the grand jury was going to start meeting as
soon as this week. Right? Oh, I see.

01:09:26:01 - 01:09:59:27
Unknown
Brad Pitt was talking about RFK Jr. Wanted him paroled. You got to be
talking about Sirhan Sirhan. See? So that's the thing. I don't see how I
find what RFK is saying to be very appealing. He seems like potentially
excellent candidate. I mean, I wonder what's going to happen. But we've
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seen in the recent past, Bernie and Trump and I mean, anybody who's not
on their dance card as far as, you know, blow up Ukraine and steal all
the money and all of that kind of crap, they just destroy these people.

01:10:00:00 - 01:10:24:20
Unknown
I hope that doesn't happen to RFK, but. Right. So there there's some
activity on Twitter about how they're going to now basically get down
with charging Trump with seditious. I have no doubt that they're going to
do that. And they'll try to say just the very fact that the charge exists
precludes him from running. He's not allowed to run for president.

01:10:24:23 - 01:10:55:06
Unknown
That's that is for sure what they're angling to get to. And that's why
Enrique Tarrio and all these guys, they're they're always doing crap like
this. So in my lawsuit, they're like, oh, you know, recommend that Jason
should never be able to, you know, talk about Peter Smith and bring
lawsuits against these guys ever again. Really? So for seven years,
George, his brother brings every asshole lawsuit under the sun and
they're like, That's fine.

01:10:55:06 - 01:11:32:18
Unknown
Keep harassing his lawyer until he quits. But I threw these two one time
and they say, no, you should never be able to sue them again. Does that
seem legitimate to people? It seems weird. I don't know. But that's
what's happening. I think we've got this sound issue licked and basically
it's not a sound issue. What it is is, you know, this is a show that I am
producing, traveling all over the place, going through crowds.

01:11:32:20 - 01:11:53:22
Unknown
None of this stuff is professional production equipment. Now I see
Michael talking about spice. That's the key to what's not marijuana. It's
got nothing to do with marijuana. He's saying it's weaponized marijuana.
It looks like potpourri when. They dump it out of the bag on on the news.
I've never seen this stuff in real life, but it looks like they call it
spice.

01:11:53:22 - 01:12:13:24
Unknown
It looks like potpourri and it's sprayed with chemicals they say. But
like I've been saying, when you look around at some of the videos
produced by people who are like, you know, hey, I got released from
prison and here's my YouTube channel talking about crazy stuff. There was
one guy I saw who spoke about different drug experiences and he said
this.

01:12:13:26 - 01:12:31:21
Unknown
He was saying, you know, when over the X number years that he was doing
heroin, whether he would get it here or there or this part of the country
or years later or whatever, he said, you know, there were there were
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degrees of quality and strength, but it had a similar you know, it was
all kind of the same.

01:12:31:25 - 01:12:50:24
Unknown
Like when you drink a beer, he you know, maybe you're going to feel a
little differently if you have a Sapporo versus a Becks or a, you know,
some of those strong, strong beers. Or maybe you have a glass wine versus
a beer or whiskey is a slight difference, but you know that it's not like
you drink one thing and you get drunk and then you drink something else.

01:12:50:24 - 01:13:17:03
Unknown
And it's a totally different feeling. This guy was saying with drugs that
he had used like heroin and cocaine, there was a consistency to it. But
with this K2 spice, this stuff that they're saying that Jordan Neely was
self medicating with like that makes it sound like it was some kind of
scientific process that he was doing. This is just some street drug that
the guy from the prison video was saying every time he did it, it was a
totally different result.

01:13:17:05 - 01:13:39:22
Unknown
Like, sometimes it did nothing, and sometimes he was like unable to move
for 30 minutes at a time and like kind of having an out of body
experience and totally, like, delirious. So that to me sounds like a
thing that's not too well regulated. It is just a marketing plan for some
filthy street drug that could be anything.

01:13:39:24 - 01:14:01:00
Unknown
And you have no idea what's going to happen any time you get that. So
that sounds incredibly dangerous to me. What do the traffic cops need a
pickup truck for? Ridiculous story.

01:14:01:03 - 01:14:42:20
Unknown
But yeah, so that's key, too. And the thing is, it. So here's boss
Morrissey just found an article from March where Jared Beck is suing
Twitter. I didn't know that. Oh, yeah. He had contacted me about some
kind of class action lawsuit they wanted to do against Twitter. I don't
think you can easily sue these things. The best video I've seen about
suing social media was the interview with Jason Fike, where he was
telling us all about CDA.

01:14:42:20 - 01:15:17:29
Unknown
230. He's not a lawyer, but he definitely seems like a hands on expert
when it comes to 47 USC Section 230 something that I wanted my lawyer to
use to say, you can't sue this company for something that Jason posted on
the Internet because that's what 47 U.S.C. Section 230 is all about,
except after speaking to Jason Fick, who's not even a lawyer, I realized
that Section 230 is a trick.
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01:15:18:02 - 01:15:44:14
Unknown
It's written in such a way that it can always protect the companies that
they want it to protect and always screw over the people that they wanted
to screw over, like Laura and me and whoever. So I don't know that it's
possible to win a lawsuit against these companies because it seems like
what's going on is at some point the government said, you know what,
These companies have the ability to read everybody's email, know what
they're talking about, know where they are at any given moment.

01:15:44:14 - 01:16:04:22
Unknown
We want that capability. So let's take over these companies, but let's
make it impossible to sue them because we also control the courts. And by
the way, all of those companies are located in the Ninth Circuit in
California. Yeah. See this person over here making the stupid hand
signals is confusing to pedestrians. That guy should not be here.

01:16:04:22 - 01:16:39:06
Unknown
Just use the regular traffic lights. Know what's got that girl run over
because he's an idiot. So stupid. It's just such a waste of life to have
that guy there. We got. We got real stupid people organizing stuff in
this city. But I wish Laura well in her malpractice suit against Ron
Coleman. I think Ron Coleman should pay that money.

01:16:39:08 - 01:17:07:11
Unknown
Yeah, Stupid Luigi is a couple of hours behind. I already read that. He's
emailing me right now. People be aware how sick and psychotic George his
brother, is, how he sits around all day obsessing over me. Isn't that
weird? Doesn't that make you think he's crazy? His public behavior makes
me think he's out of his damn mind. He's published videos about their
family history of schizophrenia Why would he do that?

01:17:07:13 - 01:17:41:03
Unknown
He deleted them. This guy's out of his mind. Unbelievable. Really
despicable characters. Ah ha ha ha. Boozy. Posted the lawsuit on VOD
Central. Well, he should celebrate because it's not over yet. People are
emailing me now. Well, we'll see what's going on here. Boozy. Yeah.

01:17:41:05 - 01:18:10:09
Unknown
Yeah. See, this is what I mean. This is like Hunter Biden right now. He's
going to get pardoned. He knows he's not going to get in trouble. These
guys have powerful friends, and they are basically my opinion based on
seeing how they act and the available evidence that I can see in the
public domain. These are the idiots they put out front to deflect people
like me, to deflect people like Laura who are finding out what these
assholes are up to.

01:18:10:11 - 01:18:35:08
Unknown
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The criminal. There's another asshole right there selling weed on the
street. Got a big goddamn mouth first. See, Laura knows what they're up
to. They know. I know what they're up to. And they put out these assholes
like Boosie, like, you know, he's so smart and he's so tough. He wasn't
worried about this. What's the legal bill like?

01:18:35:10 - 01:19:13:01
Unknown
Boozy. Who paid that for you? This is not over yet. So he should be
careful with all of his celebration. But look, end of the day, even if
this case ends, I think people know what's going on. People we've we've
learned from this whole thing. It will be very upsetting if these guys
slip away. But remember, Magistrate Court, he's not the judge.

01:19:13:01 - 01:19:41:17
Unknown
This is a report and recommendation, not a final order and judgment. It
ain't over until it's over. And then I think there's a fat lady who has
to sing something. I'm not giving up. Yeah, but you know you're going to.
I Yeah, There's things I'm holding back from saying. Even if this case
ends, I'm not going to give up.

01:19:41:17 - 01:20:06:00
Unknown
I'm not going to go away. We're still going to be allowed to talk about
this. Even if I can't sue Ben Wittes over it. We're going to talk about
it. Have I ever published the phone call with Jonathan Safran hanging up
the second I say, this is Jason Goodman. Why would he do that? Why was
Tom Lipscomb so angry with Jonathan that he couldn't contain his anger?

01:20:06:02 - 01:20:36:10
Unknown
He had to mention it to me. Why? What did Safran have to do with Peter
Smith's death? That he doesn't want to talk to me. Lipscomb doesn't want
to talk to him. You know, when we looked up the whole suicide by helium,
they said that it's a well known technique because the lighter than air
gas prevents carbon dioxide from building up in the lungs.

01:20:36:13 - 01:21:01:12
Unknown
So he's so stupid. He's saying this is a win for Bob said no, Chris
bluesy already. I have no celebrating that he's one. He doesn't seem to
understand that a report and recommendation is not a judgment he hasn't
won yet. So keep celebrating. Okay? Well, he's not lying person who just
sent me this. He is just not knowing what he's talking about.

01:21:01:17 - 01:21:20:12
Unknown
It's true that the magistrate has issued a report and recommendation in
his favor, but that is not a ruling and he has not yet won. So that's
part of the reason why I wanted to make this video, because I wanted
people to understand exactly what's going on in the way that I understand
it. And again, I'm not a lawyer.
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01:21:20:12 - 01:21:41:24
Unknown
So if you are a lawyer and I'm explaining this somehow in a way that is
wrong, I would love to hear now no, don't contact me if you're a lawyer,
but feel free to make a comment and help other people make up their own
mind as to whether or not what I'm saying is correct or incorrect Boosie
is wrong.

01:21:41:24 - 01:22:09:15
Unknown
He has not won. He's saying this is a win. You know, he's got a way of
making everything he says, correct? No matter how incorrect it is. It's a
victory for him in that, Yeah. If nothing happens and if this report and
recommendation gets adopted, the case is going to end without him having
to pay me 20 million bucks or whatever the punitive damages I was looking
for would be, I don't know exactly what he's won.

01:22:09:21 - 01:22:30:08
Unknown
Everybody now realizes what an asshole he is and he's had to pay a huge
legal bill. If he had just not been an asshole, I would have never sued
him in the first place. So maybe he's learned something. I don't know. We
could ask him, but he's basically an intractable jackass and I don't want
to talk to him.

01:22:30:11 - 01:22:54:15
Unknown
But, you know, it's interesting to see, like, Nate raised thousands and
thousands of dollars. I see George is suing Malone, and he started a go
fund me to raise money. We know a lot of people start GoFundMe is to
raise money for their legal stuff. And lawyers love that Lawfare. Yeah.
Let's get a go. Fund me going. Raise tons of money.

01:22:54:17 - 01:23:21:20
Unknown
No, exactly. Kathleen, I'm not giving up. Even if I lose this case, even
if they say it's, you know, dismissed with prejudice, I got a lot on my
mind as far as where this could go next. But I want to thank everybody
who has sponsored the show and stayed with me, not trying to raise
thousands and thousands of dollars for lawsuits.

01:23:21:20 - 01:23:47:24
Unknown
I'm trying to get people subscribe to Odyssey dot com slash at
crowdsource the truth crowdsource the truth dot substack dot com and
subscribe. Start out common patron uncommon slash crowd source the truth
because the more people who subscribe, the more the show can go on and we
can share this information and spread it around and go on road trips and
do all that kind of great stuff.

01:23:47:24 - 01:24:15:25
Unknown
So it's not about you all give me money to sue Boosie Boosie box. I don't
understand who's giving all that super chats and everything. So some
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people are going to give him like hundreds of dollars per hour. Seems
like people making thousands from that, that that's. I don't understand
that. That seems like way more money than most regular people would be
wanting to toss at a at a online show.

01:24:15:25 - 01:24:40:09
Unknown
But remember, if you want to get the most economical access to crowd
source the truth sponsor content that's on Odyssey dot com slash at
crowdsource the truth for as little as $3 a month and a nominal odyssey
fee. You can get access to sponsor exclusive content. The great thing
about Odyssey is that they actually do support the First Amendment.

01:24:40:09 - 01:25:01:29
Unknown
And so if you are an Odyssey subscriber and there is any crowd the Truth
Sponsor exclusive video that's not on Odyssey. I mean, one of the older
ones, let's say you're doing a deep dive going back watching all the old
stuff and you see it's not there. Just send me an email on truth. The
crowdsource the truth, dawg, and say, Hey, Jason, what about this
interview with so-and-so?

01:25:02:02 - 01:25:29:26
Unknown
And I'll load it up on Odyssey. I can't do that on the other platforms
because those platforms rely on Vimeo. And when we exposed Alan Parrott,
The Falcon, or in the In the Eagle Pajamas or whatever that guy was doing
with an account, remember they deleted whole Vimeo channel right after
that. That made me really not trust Anna Kate because Vimeo at that time
was part of IAC.

01:25:29:28 - 01:25:48:25
Unknown
They've spun out as its own company, so that probably means it's the same
people owning it, but they don't want you to know that or something like
that. I don't know. But that that blasted the Vimeo account and so now
then got another Vimeo account and got the idea, Well, I'll just reload
some of those old videos and they said, Oh, you can't reload old videos.

01:25:48:25 - 01:26:08:08
Unknown
Now we're blessed in that vein Vimeo account, so I can't reload old
videos. So some of those other things. But if you're on Odyssey, if
you're on Odyssey dot com slash ad crowd source, the truth and any legacy
crowd sourced the truth video that you don't see on there, send me a
message and I'll get it loaded up.

01:26:08:08 - 01:26:38:10
Unknown
Thanks for tuning in today, everybody. I'm feeling real good about the
the hardened USB connection to the phone. It seems to be much more robust
than it was, so that's good news. And I want to thank everybody for
listening to this conversation, this monologue, this speculation about
Hunter Biden and criminals, potential criminals. I don't know. They're
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really not criminals until they're convicted, but it seems like they're
doing crimes from the things that I can see in the public domain.

01:26:38:10 - 01:27:00:21
Unknown
Oh, boy. I guess I should have known that because I think bed and bath
owns Bye bye, baby. So if you have a baby, now is the time to buy, I
guess. Anyway, thanks for tuning in, everybody. Assholes on wheels. Have
a great night.
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                           (EXHIBIT B)
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                           (EXHIBIT C)
             Case 1:21-cv-10878-AT-JLC Document 216 Filed 05/30/23 Page 47 of 64


  From: SPOLIATION-NOTICE@mailbox.org SPOLIATION-NOTICE@MAILBOX.ORG
Subject:Jason Goodman searching for Nina Jancowicz
   Date:May 16, 2022 at 1:45 PM
     To:DHS-OIG.OfficePublicAffairs@oig.dhs.gov, USAMIE.Citizen.Response@usdoj.gov, usms.wanted@usdoj.gov,
        Letitia.james@ag.ny.gov, jason@21stcentury3d.com
    Cc: press@nvdems.com, info@nevadagop.org, admin@nvdems.com, pio@lvmpd.com, cbsmith@dps.state.nv.us,
        jwright@dps.state.nv.us, ndirecords@dps.state.nv.us, gpowell@dps.state.nv.us, stac@clarkcountynv.gov, mstmartin@gov.nv.gov,
        info@highsierrasdc.org, hdegoey@dps.state.nv.us, spoliation@posteo.net, spoliation@tutanota.com, complaints@dia.govt.nz,
        criminalrecord@justice.govt.nz, docverify@dia.govt.nz, passports@dia.govt.nz, qrs@nzqa.govt.nz,
        authentication.unit@parliament.govt.nz, evidence@comcom.govt.nz, josh@lbry.io, natomediaoperations@hq.nato.int,
        NatoAccreditations@hq.nato.int, ncirc.cc@hq.nato.int, richard_loury@mied.uscourts.gov, abuse@twitter.com, abuse@odysee.com
        , copyright@youtube.com, privacy@twitter.com, privacy@dhs.gov, Privacy Privacy@HQ.DHS.GOV, george.webb@gmail.com,
        Press press@botsentinel.com, letters@nypost.com, tips@thedailybeast.com, tips@nypost.com, tips@forbes.com,
        legal@support.youtube.com, google-legal-support@google.com, removals@google.com, Josh Finer josh@odysee.com

       Jason Goodman searching for Nina Jancowicz

       https://www.youtube.com/watch?v=iPecp0Wcdx0




           On 05/13/2022 6:12 AM Spoliation Notice <spoliation-notice@mailbox.org> wrote:


           To whom it may concern:

           It appears ODYSEE is fully prepared to endorse Jason Goodman clandestine telephone call to DHS (see link below).

           https://odysee.com/@Crowdsourcethetruth:d/disinfonina:6

           REF: Non-licensed corporation operating in Nevada

           Odysee, Inc 2540 S Maryland Pkwy Unit #5021 Las Vegas, NV 89109 hello@odysee.com

           See: https://odysee.com/$/privacypolicy




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            fhdia (1).pdf
              164 KB
             Case 1:21-cv-10878-AT-JLC Document 216 Filed 05/30/23 Page 48 of 64


  From:    Jason Goodman jason@21stcentury3d.com
Subject:   Re: Jason Goodman searching for Nina Jancowicz
   Date:   May 16, 2022 at 2:04 PM
     To:   AMERICA’S RV MAILBOX, PMB 13339 SPOLIATION-NOTICE@MAILBOX.ORG
    Cc:    DHS-OIG.OfficePublicAffairs@oig.dhs.gov, USAMIE.Citizen.Response@usdoj.gov, usms.wanted@usdoj.gov,
           Letitia.james@ag.ny.gov, press@nvdems.com, info@nevadagop.org, admin@nvdems.com, pio@lvmpd.com,
           cbsmith@dps.state.nv.us, jwright@dps.state.nv.us, ndirecords@dps.state.nv.us, gpowell@dps.state.nv.us,
           stac@clarkcountynv.gov, mstmartin@gov.nv.gov, info@highsierrasdc.org, hdegoey@dps.state.nv.us, spoliation@posteo.net,
           spoliation@tutanota.com, complaints@dia.govt.nz, criminalrecord@justice.govt.nz, docverify@dia.govt.nz, passports@dia.govt.nz
           , qrs@nzqa.govt.nz, authentication.unit@parliament.govt.nz, evidence@comcom.govt.nz, josh@lbry.io,
           natomediaoperations@hq.nato.int, NatoAccreditations@hq.nato.int, ncirc.cc@hq.nato.int, richard_loury@mied.uscourts.gov,
           abuse@twitter.com, abuse@odysee.com, copyright@youtube.com, privacy@twitter.com, privacy@dhs.gov, Privacy
           Privacy@HQ.DHS.GOV, george.webb@gmail.com, Press press@botsentinel.com, letters@nypost.com, tips@thedailybeast.com,
           tips@nypost.com, tips@forbes.com, legal@support.youtube.com, google-legal-support@google.com, removals@google.com,
           Josh Finer josh@odysee.com

       The person who sent this email, David George Sweigert, has made numerous public statements against his own interest about his
       family history of medically diagnosed, pharmaceutically treated schizophrenia. His obsessive stalking and cyber stalking of me cause
       me to believe he is mentally ill and a danger to my safety.

       The order he has attached to this email was dismissed by a subsequent order from the honorable Gershwin Drain (ECF No. 45
       attached).

       Furthermore, Judge Drain’s original order pertained only to employees of the U.S. District Court for the Eastern DIstrict of Michigan
       where David George Sweigert has inappropriately communicated with a federal employee named Richard Loury.

       Evidence I have presented to the court supports allegations that Loury and Sweigert have consider to falsify documents and violate
       federal law.

       Please disregard communications for David George Sweigert, his public behavior causes me to believe he is mentally ill and a danger
       to me, himself and those around him.

       Jason Goodman
       323-744-7594




           45.pdf

           On May 16, 2022, at 1:45 PM, SPOLIATION-NOTICE@mailbox.org <SPOLIATION-NOTICE@MAILBOX.ORG> wrote:

           Jason Goodman searching for Nina Jancowicz

           https://www.youtube.com/watch?v=iPecp0Wcdx0




             On 05/13/2022 6:12 AM Spoliation Notice <spoliation-notice@mailbox.org> wrote:


             To whom it may concern:

             It appears ODYSEE is fully prepared to endorse Jason Goodman clandestine telephone call to DHS (see link below).

             https://odysee.com/@Crowdsourcethetruth:d/disinfonina:6

             REF: Non-licensed corporation operating in Nevada

             Odysee, Inc 2540 S Maryland Pkwy Unit #5021 Las Vegas, NV 89109 hello@odysee.com

             See: https://odysee.com/$/privacypolicy
           <92draijn2eb949750_mv2.png><show_temp--fhdia (1).pdf>
             Case 1:21-cv-10878-AT-JLC Document 216 Filed 05/30/23 Page 49 of 64


  From:    SPOLIATION-NOTICE@mailbox.org SPOLIATION-NOTICE@MAILBOX.ORG
Subject:   Re: Jason Goodman searching for Nina Jancowicz
   Date:   May 16, 2022 at 2:32 PM
     To:   Jason Goodman jason@21stcentury3d.com
    Cc:    DHS-OIG.OfficePublicAffairs@oig.dhs.gov, USAMIE.Citizen.Response@usdoj.gov, usms.wanted@usdoj.gov,
           Letitia.james@ag.ny.gov, press@nvdems.com, info@nevadagop.org, admin@nvdems.com, pio@lvmpd.com,
           cbsmith@dps.state.nv.us, jwright@dps.state.nv.us, ndirecords@dps.state.nv.us, gpowell@dps.state.nv.us,
           stac@clarkcountynv.gov, mstmartin@gov.nv.gov, info@highsierrasdc.org, hdegoey@dps.state.nv.us, spoliation@posteo.net,
           spoliation@tutanota.com, complaints@dia.govt.nz, criminalrecord@justice.govt.nz, docverify@dia.govt.nz, passports@dia.govt.nz
           , qrs@nzqa.govt.nz, authentication.unit@parliament.govt.nz, evidence@comcom.govt.nz, josh@lbry.io,
           natomediaoperations@hq.nato.int, NatoAccreditations@hq.nato.int, ncirc.cc@hq.nato.int, richard_loury@mied.uscourts.gov,
           abuse@twitter.com, abuse@odysee.com, copyright@youtube.com, privacy@twitter.com, privacy@dhs.gov, Privacy
           Privacy@HQ.DHS.GOV, george.webb@gmail.com, Press press@botsentinel.com, letters@nypost.com, tips@thedailybeast.com,
           tips@nypost.com, tips@forbes.com, legal@support.youtube.com, google-legal-support@google.com, removals@google.com,
           Josh Finer josh@odysee.com, Spoliation Notice spoliation-notice@mailbox.org

       Nice try Mr. Goodman

       You have been served.

       See attached.


           On 05/16/2022 8:04 PM Jason Goodman <jason@21stcentury3d.com> wrote:


           The person who sent this email, David George Sweigert, has made numerous public statements against his own interest about his
           family history of medically diagnosed, pharmaceutically treated schizophrenia. His obsessive stalking and cyber stalking of me
           cause me to believe he is mentally ill and a danger to my safety.

           The order he has attached to this email was dismissed by a subsequent order from the honorable Gershwin Drain (ECF No. 45
           attached).

           Furthermore, Judge Drain’s original order pertained only to employees of the U.S. District Court for the Eastern DIstrict of Michigan
           where David George Sweigert has inappropriately communicated with a federal employee named Richard Loury.

           Evidence I have presented to the court supports allegations that Loury and Sweigert have consider to falsify documents and violate
           federal law.

           Please disregard communications for David George Sweigert, his public behavior causes me to believe he is mentally ill and a
           danger to me, himself and those around him.

           Jason Goodman
           323-744-7594



             On May 16, 2022, at 1:45 PM, SPOLIATION-NOTICE@mailbox.org <SPOLIATION-NOTICE@MAILBOX.ORG> wrote:

             Jason Goodman searching for Nina Jancowicz

             https://www.youtube.com/watch?v=iPecp0Wcdx0




               On 05/13/2022 6:12 AM Spoliation Notice <spoliation-notice@mailbox.org> wrote:


               To whom it may concern:

               It appears ODYSEE is fully prepared to endorse Jason Goodman clandestine telephone call to DHS (see link below).

               https://odysee.com/@Crowdsourcethetruth:d/disinfonina:6

               REF: Non-licensed corporation operating in Nevada

               Odysee, Inc 2540 S Maryland Pkwy Unit #5021 Las Vegas, NV 89109 hello@odysee.com

               See: https://odysee.com/$/privacypolicy
             <92draijn2eb949750_mv2.png><show_temp--fhdia (1).pdf>
Case 1:21-cv-10878-AT-JLC Document 216 Filed 05/30/23 Page 50 of 64

<92draijn2eb949750_mv2.png><show_temp--fhdia (1).pdf>
             Case 1:21-cv-10878-AT-JLC Document 216 Filed 05/30/23 Page 51 of 64


  From:    SPOLIATION-NOTICE@mailbox.org SPOLIATION-NOTICE@MAILBOX.ORG
Subject:   Re: Jason Goodman searching for Nina Jancowicz
   Date:   May 16, 2022 at 6:10 PM
     To:   Jason Goodman jason@21stcentury3d.com, Spoliation Notice spoliation-notice@mailbox.org
    Cc:    DHS-OIG.OfficePublicAffairs@oig.dhs.gov, USAMIE.Citizen.Response@usdoj.gov, usms.wanted@usdoj.gov,
           Letitia.james@ag.ny.gov, press@nvdems.com, info@nevadagop.org, admin@nvdems.com, pio@lvmpd.com,
           cbsmith@dps.state.nv.us, jwright@dps.state.nv.us, ndirecords@dps.state.nv.us, info@highsierrasdc.org,
           hdegoey@dps.state.nv.us, spoliation@posteo.net, spoliation@tutanota.com, complaints@dia.govt.nz,
           criminalrecord@justice.govt.nz, docverify@dia.govt.nz, passports@dia.govt.nz, qrs@nzqa.govt.nz,
           authentication.unit@parliament.govt.nz, evidence@comcom.govt.nz, natomediaoperations@hq.nato.int,
           NatoAccreditations@hq.nato.int, ncirc.cc@hq.nato.int, richard_loury@mied.uscourts.gov, abuse@twitter.com,
           copyright@youtube.com, privacy@twitter.com, privacy@dhs.gov, Privacy Privacy@HQ.DHS.GOV, george.webb@gmail.com,
           Press press@botsentinel.com, letters@nypost.com, tips@thedailybeast.com, tips@nypost.com, tips@forbes.com,
           legal@support.youtube.com, google-legal-support@google.com, removals@google.com, Josh Finer josh@odysee.com,
           media@brookings.edu, events@brookings.edu, registrar@brookings.edu, investments@brookings.edu,
           communications@brookings.edu


       REF: Clandestine phone call to Brookings Institute

       This can be used for the DHS social engineering course.

       Jason Goodman calling close friend of Nina Jancowicz.

       https://twitter.com/JGoodman_CSTT/status/1526294548477095938?s=20&t=f25fkVZiJjakd17EfW5lag


             On May 16, 2022, at 1:45 PM, SPOLIATION-NOTICE@mailbox.org <SPOLIATION-NOTICE@MAILBOX.ORG> wrote:

             Jason Goodman searching for Nina Jancowicz

             https://www.youtube.com/watch?v=iPecp0Wcdx0




               On 05/13/2022 6:12 AM Spoliation Notice <spoliation-notice@mailbox.org> wrote:


               To whom it may concern:

               It appears ODYSEE is fully prepared to endorse Jason Goodman clandestine telephone call to DHS (see link below).

               https://odysee.com/@Crowdsourcethetruth:d/disinfonina:6

               REF: Non-licensed corporation operating in Nevada

               Odysee, Inc 2540 S Maryland Pkwy Unit #5021 Las Vegas, NV 89109 hello@odysee.com

               See: https://odysee.com/$/privacypolicy
             <92draijn2eb949750_mv2.png><show_temp--fhdia (1).pdf>




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            fhdia (1).pdf
Case 1:21-cv-10878-AT-JLC Document 216 Filed 05/30/23 Page 52 of 64
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  From: spoliation@posteo.net
Subject:Fwd: Ban evasion policy
   Date:May 20, 2022 at 1:40 PM
     To:Spoliation spoliation@posteo.net, Spoliation notice spoliation-notice@mailbox.org, Spoliation spoliation@tutanota.com, Abuse
        abuse@twitter.com, Legal legal@twitter.com, Press press@twitter.com, Privacy privacy@twitter.com, Security
        security@twitter.com, Copy: NatoAccreditations NatoAccreditations@hq.nato.int, B brett heavner b.brett.heavner@finnegan.com,
        Margaret esquenet margaret.esquenet@finnegan.com, Heavnerb heavnerb@finnegan.com, MaryKate Brennan
        MaryKate.Brennan@finnegan.com, FLETC CounterterrorismDivision FLETC-CounterterrorismDivision@dhs.gov, Fletc foia
        fletc-foia@dhs.gov, Letitia james Letitia.james@ag.ny.gov, Bjorn bjorn@odysee.com, Julian julian@odysee.com, Abuse
        abuse@odysee.com, Legal legal@odysee.com, Jason Goodman truth@crowdsourcethetruth.org, Jason
        jason@21stcentury3d.com
    Cc: richard_loury@mied.uscourts.gov, Ad1 agc ad1-agc@nycourts.gov, treasurer@fcca.ws, Service@americanbar.org,
        forums@americanbar.org, Dawn.Holiday@americanbar.org, Usms wanted usms.wanted@usdoj.gov, Legal legal@patreon.com,
        Legal legal@support.youtube.com, Legal legal@nyulangone.org, Radio radio@sputniknews.com, Tips tips@thedailybeast.com,
        Tips tips@nypost.com, 60m 60m@cbsnews.com, NatoAccreditations NatoAccreditations@hq.nato.int, Natomediaoperations
        natomediaoperations@hq.nato.int, Natosummitmediaqueries natosummitmediaqueries@hq.nato.int, Ncirc cc ncirc.cc@hq.nato.int
        , Press tips@forbes.com, tips@dailycaller.com, tips@nbcnewyork.com, newstips@nbc11.com, Georg webb
        georg.webb@gmail.com, Press press@botsentinel.com, STRATCOM EAST STRATCOM-EAST@eeas.europa.eu, District7
        District7@council.nyc.gov, Spoliation Notice spoliation-notice@mailbox.org, spoliation@posteo.net,
        police.public_affairs@phila.gov, Membership@nationalbar.org, Events@nationalbar.org, Communications@nationalbar.org,
        Jason Goodman truth@crowdsourcethetruth.org, Jason jason@21stcentury3d.com, Spoliation spoliation@posteo.net,
        Spoliation notice spoliation-notice@mailbox.org, Dday dday@michbar.org, Kgardner kgardner@michbar.org, Mpa
        mpa@michiganpress.org, Aemmons aemmons@michbar.org, USAMIE Citizen Response USAMIE.Citizen.Response@usdoj.gov,
        Probono probono@mied.uscourts.gov, Ads ads@rumble.com, Pr pr@rumble.com, Support support@rumble.com




       -------- Original Message --------
       Subject: Ban evasion policy
       Date: 19.05.2022 21:17


       REF: https://help.twitter.com/en/rules-and-policies/ban-evasion


       TWITTER:

       Jason Goodman is now using a new Twitter account to escape your ban of his previous accounts:

           @jgoodman_cstt

           @csthetruth

       Ban evasion accounts:

       https://twitter.com/21C3D

       https://twitter.com/jasongoodman3d/with_replies

       Best,
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FBI-BUFFALO -
   Copy.pdf
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  From:    Blaire (Support) platform-support@patreon.zendesk.com
Subject:   Action Needed — Your Account on Patreon
   Date:   May 26, 2022 at 1:33 PM
     To:   Crowdsource The Truth truth@crowdsourcethetruth.org

                                                 ##- Please type your reply above this line -##




                                                                                                  |




           You've received an email from Patreon (#1658049



                        Blaire (Patreon)
                        May 26, 2022, 10:33 AM PDT

                        Hi there,


                        My name's Blaire. I'm on Trust & Safety team, and I'm reaching out to you
                        after a few posts you published were flagged for harassment and doxing. I'll
                        link to the posts in question below:


                        https://www.patreon.com/posts/disinfo-diva-or-66515081


                        Patreon has a zero-tolerance policy with respect to doxing, which is sharing
                        an individual’s private information or aggregating their public information
                        for the purpose of intimidating them through harassment. For this reason, I
                        have to ask to remove these posts and to please stop doxing.


                        Please feel free to lodge any questions or concerns regarding our
                        Community Guidelines with me in this email thread. I encourage you to
                        review those guidelines to enhance your experience with the platform.

                        All the best,

                        Blaire
                        Patreon Trust and Safety
                        Monday - Friday
                        9am- 6pm PST
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                            Be a part of the Community: Blog | FAQ



You have been sent this message because you recently opened a help request with the Patreon
Community Happiness Team.
[79L5V3-5MY5R]
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  From: Spoliation Notice spoliation-notice@mailbox.org
Subject:Re: Alleged blackmailer in possible contempt of federal court while at Hillary Clinton event
   Date:May 20, 2022 at 1:54 PM
     To:spoliation@posteo.net, hello@odysee.com, Julian julian@odysee.com, josh@lbry.io, Josh Finer josh@odysee.com,
        attorneygeneral@doj.nh.gov
    Cc: Jason Goodman truth@crowdsourcethetruth.org, georg.webb@gmail.com, GOOGLE-LEGAL-SUPPORT@google.com,
        removals@google.com, ad1-agc@nycourts.gov, nmay@ftc.gov, arosenberg@ftc.gov, igorecki@ftc.gov, mmoeller@ftc.gov,
        cleach@ftc.gov, ezullow@ftc.gov, balbert@ftc.gov, ablack1@ftc.gov, beau.buffier@ag.ny.gov, dbutrymowicz@ftc.gov,
        elinor.hoffmann@ag.ny.gov, dhuyett@ftc.gov, Jeremy.Kasha@ag.ny.gov, amy.mcfarlane@ag.ny.gov, public.integrity@ag.ny.gov,
        Labor.Bureau@ag.ny.gov, ifraud@ag.ny.gov, Intergovernmental.Affairs@ag.ny.gov, Civil.Rights@ag.ny.gov,
        Letitia.james@ag.ny.gov, legal@support.youtube.com, support@youtube.com, colin@patreon.com, legal@patreon.com,
        tips@thedailybeast.com, tips@forbes.com, tips@nypost.com, tips@dailycaller.com, tips@zerohedge.com, Jessica Clarke
        Jessica.Clarke@ag.ny.gov, President president@fcca.ws, Media media@iwf.org.uk, Metro metro@detroitnews.com, Readers
        readers@metronews.ca, Toronto toronto@metronews.ca, New scotland yard new.scotland.yard@met.police.uk, Mediainquiry
        mediainquiry@hq.dhs.gov, DHS OIG OfficePublicAffairs DHS-OIG.OfficePublicAffairs@oig.dhs.gov, Aiodice aiodice@law.nyc.gov
        , SpeakerJohnson SpeakerJohnson@council.nyc.gov, Brian nelsen brian.nelsen@nypd.org, Pc office pc.office@nypd.org, Dcpi
        dcpi@nypd.org, foiparequest@ic.fbi.gov, dhs@dc.gov, privacy@dhs.gov, Spoliation Notice spoliation-notice@mailbox.org,
        spoliation@tutanota.com, spoliation@posteo.net, passports NZ noreply@dia.govt.nz, ex-NextccRouter NextccRouter@dia.govt.nz
        , margaret.esquenet@finnegan.com, b.brett.heavner@finnegan.com

       FBI intake for your records


           On 02/19/2022 10:41 PM spoliation@posteo.net wrote:


           For your records

           Kindly forward to U.S. Secret Service S.A.I.C., New York City




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              Copy.pdf
                130 KB
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   164 KB
             Case 1:21-cv-10878-AT-JLC Document 216 Filed 05/30/23 Page 60 of 64


  From:    Hello hello@odysee.com
Subject:   Fwd: DMCA notice to Odysee - record 1 5/13/22
   Date:   May 16, 2022 at 1:02 PM
     To:   spoliation@posteo.ne, spoliation@tutanota.com
    Cc:    truth@crowdsourcethetruth.org, jason@21stcentury3d.com, spoliation@posteo.net, spoliation@tutanota.com, julian@odysee.com
           , josh@odysee.com, legal@odysee.com, help@odysee.com


       Thank you for providing an official DMCA takedown notice in the format requested with a detailed listing of content and explanation.
       Your DMCA request is being processed and filed under https://github.com/lbryio/dmca/blob/master/2022/2022-05-16-David-George-
       Sweigert.md. Give it a few hours to be reflected.



       How would you rate my reply?
       Great Okay Not Good

       Best Regards,
       Odysee
       --
       Do you love talking to us via email? Then join us on Discord Chat to become a member of our community, interact directly with the
       Odysee team, and help us build a revolutionary digital marketplace! Also, follow us on Twitter and subscribe on Reddit.

       hello@odysee.com

       On Fri, May 13, 2022 at 7:06 PM EDT, Spoliation Notice <spoliation-notice@mailbox.org> wrote:
        To: Odysee Holdings, Inc.

           You are now warned you will incur direct, vicarious, and contributory liability, for copyright infringement.

           Attached for your records are materials from the Court,

           Best,

           On Thu, May 12, 2022 at 10:33 PM EDT, Spoliation Notice <spoliation-notice@mailbox.org> wrote:
            To: Odysee Holdings, Inc.

             The attached draft summons has been sent to the Clerk of the Court for formal issuance.

             Best,

             On Thu, May 12, 2022 at 8:51 PM EDT, Spoliation Notice <spoliation-notice@mailbox.org> wrote:
              Jason Goodman, attached is your summons.

               On Thu, May 12, 2022 at 7:27 PM EDT, Spoliation Notice <spoliation-notice@mailbox.org> wrote:
                Simple;

                   If Odysee decides to side with Mr. Goodman and ignore the legitimate DMCA take down request sent today, the undersigned
                   will have no choice but to begin to prepare a complaint for money-laundering, wire fraud racketeering and copyright
                   violations to be filed in the Southern District of New York against Odysee Holdings, Inc.

                   Act at your own peril. Please seek out legal counsel.

                   Best,

                   D. G. Sweigert

                   On Thu, May 12, 2022 at 7:27 PM EDT, Spoliation Notice <spoliation-notice@mailbox.org> wrote:
                    Simple;

                     If Odysee decides to side with Mr. Goodman and ignore the legitimate DMCA take down request sent today, the
                     undersigned will have no choice but to begin to prepare a complaint for money-laundering, wire fraud racketeering and
                     copyright violations to be filed in the Southern District of New York against Odysee Holdings, Inc.

                     Act at your own peril. Please seek out legal counsel.

                     Best,

                     D. G. Sweigert

                     On Thu, May 12, 2022 at 4:27 PM EDT, Jason Goodman <truth@crowdsourcethetruth.org> wrote:
                      The individual sending these emails has engaged in public behavior that causes me to believe he is mentally ill. He has
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     The individual sending these emails has engaged in public behavior that causes me to believe he is mentally ill. He has
     made statements against his own interest about his family history or medically diagnosed and pharmaceutically treated
     schizophrenia. He has brought law suit after lawsuit against me for the past 5 years and his psychotic behavior causes
     me to believe he is a danger to my safety.

     I have preserved evidence of his ongoing harassment and posted the videos to the Odysee chenille in question. These
     videos are evidence in ongoing federal litigation. Mr. Sweigert has no legitimate claim to demand their removal. Posting
     the videos in the manner that I have does not violate U.S. copyright law. The videos are being presented as evidence
     and he has no legitimate claims to remove them, nor does he have any legitimate right to pursue Odysee for hosting
     them.

     https://odysee.com/@CounterSpoliation:6/CIA-Dave-Acton-court-testimony-George-Webb-part1of2:c

     On Thu, May 12, 2022 at 4:00 PM EDT, Spoliation Notice <spoliation-notice@mailbox.org> wrote:
      Jason Goodman, CrowdSource The Truth and your co-defendants

       See attached DMCA take-down notice. All the the hyperlinks discussed in the attached DMCA TAKEDOWN NOTICE
       should be disabled immediately.

       D. G. Sweigert

       On Thu, May 12, 2022 at 4:00 PM EDT, Spoliation Notice <spoliation-notice@mailbox.org> wrote:
        Jason Goodman, CrowdSource The Truth and your co-defendants

         See attached DMCA take-down notice. All the the hyperlinks discussed in the attached DMCA TAKEDOWN
         NOTICE should be disabled immediately.

         D. G. Sweigert

         On Thu, May 12, 2022 at 12:32 PM EDT, Spoliation Notice <spoliation-notice@mailbox.org> wrote:
          Per the attached, you have been warned.

            On Thu, May 12, 2022 at 12:22 PM EDT, Spoliation Notice <spoliation-notice@mailbox.org> wrote:
             To: Odysee DMCA coordinator

              Re: Notice of Copyright Violation (DMCA Takedown Notice), Privacy Violations,
              and Infringement of Name and Image – Request to Remove Offending Content.

              Your attention is drawn to the @CounterSpoliation channel on Odysee

              The channel states it's mission:

              This video presents evidence of David George Sweigert communicating with a cyber militia he has organized.
              This video is evidence in an ongoing legal matter in federal court. Any attempt to remove this video will be
              considered spoliation of evidence and may result in further legal action and or civil or criminal penalties.

              A typical video is listed below:

              https://odysee.com/@CounterSpoliation:6/FINAL-WARNING-to-Defango-from-CSTT-CEO-Jason-Goodman----
              George-Webb-advised(1)_:a

              My name is David George Sweigert, I am the exclusive rights holder for content that is
              appearing on your website. This email is official notification under Section 512(c) of the Digital
              Millennium Copyright Act (“DMCA”), and I seek the immediate removal of the following
              infringing material from your servers.

              1. The infringing material, which I content belongs to me, is the following:

              https://odysee.com/@CounterSpoliation:6/FINAL-WARNING-to-Defango-from-CSTT-CEO-Jason-Goodman----
              George-Webb-advised(1)_:a

              https://odysee.com/@CounterSpoliation:6/George-Webb-receives-Man-of-the-Years-Award-from-major-
              veterans-group_:3

              https://odysee.com/@CounterSpoliation:6/BREAKING-Hon.-Jason-Goodman-issues-Defango-CEASE-and-
              DESIST-ORDER_:a

              https://odysee.com/@CounterSpoliation:6/George-Webb-launches-full-scale-investigation-into-Luxembourg_:8

              https://odysee.com/@CounterSpoliation:6/ADULT-CONTENT-NSFW-Jason-Goodman-calls-George-Webb-
              crazy----Intel-Valor-advised_:a
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             https://odysee.com/@CounterSpoliation:6/Day-1------Legal-maneuvers-in-the-George-Webb-lawsuits----stolen-
             DNC-files_:3

             https://odysee.com/@CounterSpoliation:6/George-Webb-and-Jason-Goodman-caught-in-5-lies-in-under-2-
             minutes_:3

             https://odysee.com/@CounterSpoliation:6/The-twists-and-turns-of-the-George-Webb-lawsuit_:c

             https://odysee.com/@CounterSpoliation:6/Day-1.2----Jason-Goodman-files-Rule-11-sanctions-in-George-
             Webb-saga_:6

             https://odysee.com/@CounterSpoliation:6/Day-1.1------The-George-Webb---Jason-Goodman-litigation-saga:5

             https://odysee.com/@CounterSpoliation:6/2017.06.15GeorgeWebbSweigertgetsexposedbyhisbrother:c

             https://odysee.com/@CounterSpoliation:6/20170616GeorgeWebbSweigertgetsexposedbyhisbrotherPt.1:1

             https://odysee.com/@CounterSpoliation:6/20170616GeorgeWebbSweigertgetsexposedbyhisbrotherPt.1:1

             https://odysee.com/@CounterSpoliation:6/DaveActonisCIAGeorgeWebbisMossadpart2of2:a

             https://odysee.com/@CounterSpoliation:6/2017.06.16---George-Webb-Sweigert-gets-exposed-by-his-brother-
             Pt.2:e

             https://odysee.com/@CounterSpoliation:6/CIA-Dave-Acton-court-testimony-George-Webb-part1of2:c

             https://odysee.com/@CounterSpoliation:6/Trigger-Warning-Cyber-Militia-forming---George-Webb-advised:0

             I am providing this notice in good faith and with reasonable belief that David George Sweigert's
             rights are being infringed. Under the penalty of perjury, I certify that the information contained
             in this notification is both true and accurate.

             David George Sweigert




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                           (EXHIBIT D)
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